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           EXHIBIT 1
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             APPENDIX A: VITA FOR KATHLEEN BLEE

                                   KATHLEEN M. BLEE
                                           (May 2020)


 ADDRESS

       Kenneth P. Dietrich School of Arts and Sciences Dean’s Office
       917 Cathedral of Learning
       University of Pittsburgh
       Pittsburgh PA 15260
       412-624-5171
       kblee@pitt.edu



 EDUCATION

       Ph.D. 1982 University of Wisconsin-Madison (Sociology)
       M.S. 1976 University of Wisconsin-Madison (Sociology)
       B.A. 1974 Indiana University (Sociology), with highest honors



 ADMINISTRATIVE POSITIONS

         Bettye J. and Ralph E. Bailey Dean of the Kenneth P Dietrich School of Arts
         and Sciences and the College of General Studies
           University of Pittsburgh, August 15, 2017-present

         Senior Associate Dean, Dietrich School of Arts and Sciences
          University of Pittsburgh, May 1, 2017-August 14, 2017

         Associate Dean for Graduate Studies and Research
          Dietrich School of Arts and Sciences
          University of Pittsburgh, 2012-2017

        Chair, Department of Sociology
         University of Pittsburgh, 2008-2011

        Director, Women’s Studies Program


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           University of Pittsburgh, 1996-2001

          Associate Dean of the College of Arts and Sciences
          University of Kentucky, 1989-1991; 1992 (served full term and an additional year)

          Director, Women's Studies Program
          University of Kentucky, 1987-1989


 ACADEMIC POSITIONS

        University of Pittsburgh
               Distinguished Professor of Sociology, 2007-present
               Professor of Sociology, 1996-2006
               Faculty on Semester at Sea, spring 2002 voyage
               Affiliated appointments:
                       Department of History, 1997-present
                       Department of Psychology, 2007-present
                       Gender, Sexuality, and Women’s Studies Program, 1996-present
                       Center for Race and Social Problems, 2005-present

        University of Kentucky
               Instructor to Professor, 1981-1996

        Cornell University
               Visiting Fellow, summer 1984


 HONORS AND AWARDS

 Eastern Sociological Society 2017 Robin M. Williams Distinguished Lectureship Award

 John D. McCarthy Award for Lifetime Achievement in the Scholarship of Social Movements and
 Collective Behavior. National award, presented by Center for the Study of Social Movements,
 Notre Dame University, 2016

 Named to Distinguished Professor rank, University of Pittsburgh, 2007

 University of Pittsburgh Chancellor’s Distinguished Teaching Award, 2007

 University of Pittsburgh Provost’s Award for Excellence in Mentoring, 2007



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 American Association of University Women Senior Scholar Commendation of Honor, 2007

 Award for Distinguished Contribution to Scholarship, Pennsylvania Sociological Society, 2006

 University of Pittsburgh Chancellor’s Distinguished Research Award, Senior Scholar, 2004

 YWCA-Pittsburgh Racial Justice Award, 2004

 Selected as University of Kentucky Research Professor (university-wide career research award),
        1994-1995

 Elected to Sociological Research Association (honorary for outstanding research), 1999



 BOOKS

 2017                 Understanding Racist Activism: Theory, Methods, and Research.
               Routledge series on Fascism and the Far-Right (edited compilation of my
               published article with new introductory and concluding essays and commentaries).
               London: Routledge.

 2012                   Democracy in the Making: How Activist Groups Form. Oxford University
               Press.

                        2012 Virginia Hodgkinson Research Prize from the Association for
                        Research on Nonprofit Organizations and Voluntary Action.

                        2013 Charles Tilly Award for Best Book from the Collective Behavior and
                        Social Movements Section of the American Sociological Association.

                        Featured in author-meets-critics session, American Sociological
                        Association annual meeting, San Francisco, August, 2014.


 2012                 Women of the Right: Comparisons and Interplay Across Borders. Co-
               edited with Sandra McGee Deutch. Penn State University Press.

 2002                 Inside Organized Racism: Women in the Hate Movement. University of
               California Press.

                        Featured in author-meets-critics session, American Sociological


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                   Association annual meeting, Atlanta, August, 2003.

                   Finalist, C. W. Mills Award, Society for the Study of Social Problems,
                   2003.

                   Honorable Mention, Collective Behavior and Social Movements Section of
                   the American Sociological Association, 2003.

                   Honorable Mention, Mirra Komarovsky Book Award from the Eastern
                   Sociological Society, 2003

                   Featured in author-meets-critics session, Eastern Sociological Society
                   annual meeting, Philadelphia, February, 2003.

                   Featured in author-meets-critics session, Southern Sociological Society
                   annual meeting, Atlanta, March, 2004.

                   Feature articles about this book appeared in New York Times, Chronicle of
                   Higher Education, Southern Poverty Law Center’s Intelligence Report,
                   Toronto Globe and Mail, and other places.

                   Reprinted in part and modified as “The Geography of Racial Activism:
                   Defining Whiteness at Multiple Scales”pp. 49-68 in Colin Flint (ed.),
                   Spaces of Hate: Geographies of Hate, Discrimination, and Intolerance in
                   the United States (NY: Routledge, 2004).

                   Reprinted, in part and modified, as “The Place of Women in Racist
                   Groups” in Abby Ferber (ed.), Home-Grown Hate: Gender and Organized
                   Racism (NY: Routledge, 2004): 49-74.


 2001              Feminism and Anti-Racism: International Struggles for Justice. Co-edited
            with France Winddance Twine. New York University Press.


 2000              The Road to Poverty: The Making of Wealth and Hardship in Appalachia.
            (coauthored with Dwight Billings). Cambridge University Press.

                   Winner, Weatherly Appalachian Studies Association best book award,
                   2001

                   Featured in an authors meet critic session, Appalachian Studies


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                   Association, Snowshoe, WV, March, 2001.

                   Featured as a Dialogue Session, Marxism 2000 Conference, Amherst,
                   Mass, Sept 2000.

                                Featured in symposium of responses by critics in Rethinking
                   Marxism 16:1 (Jan, 2004).

                   Featured in a symposium of responses by critics from various disciplines,
                   in Journal of Appalachian Studies 6:1-2 (Spring-Fall, 2000).


 1998              No Middle Ground: Women & Radical Protest. Editor. New York
            University Press.



 1991              Women of the Klan: Racism and Gender in the 1920s. University of
            California Press. Reissued with a new preface, 2009.


                   Named a centennial book of the University of California Press.

                   Selected as an Outstanding Book by the Gustavus Myers Center for the
                   Study of Human Rights.

                   Nominated for a Pulitzer Prize by the University of California Press.

                   Feature articles about this book appeared in New York Times, The Nations,
                   Los Angeles , and other places

                   Reprinted in part in Susan J. Ferguson (ed.), Mapping the Social
                   Landscape: Readings in Sociology (Mayfield Publishing, 1996)



 EDITED JOURNALS

 2011               Special Issue of Qualitative Sociology on “Beyond the IRB: Frontiers in
            Ethics for Qualitative Research.” Co-edited with Ashley Currier* 34:3
            (September).



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                                  14217




 2007                 Special Issue of Journal of Contemporary Ethnography on "Racist and Far-
               Right Groups.” Vol 36, No. 2 (April).



 JOURNAL ARTICLES AND BOOK CHAPTERS                   (**postdoc; *graduate student)


        Kathleen Blee, “Where Do We Go From Here?: Positioning Gender in Studies of White
        Supremacist and Far-Right Politics?,” under review for Inger Skjelsbaek and Katrine
        Fangen (eds.), Politics, Religion & Ideology Special issue on Gender and Right Wing
        Extremism.

 2022   Windisch, Steven, Pete Simi, Matthew DeMichele, Kathleen Blee. “Measuring the Extent
        and Nature of Adverse Childhood Experiences (ACE) among Former White
        Supremacists," Terrorism and Political Violence, forthcoming.

 2023   Mehr Latif **, Kathleen Blee, Matthew DeMichele, and Pete Simi, “Do White
        Supremacist Women Adopt Movement Archetypes of Mother, Whore, and Fighter?,”
        Studies in Conflict and Terrorism 46(6), forthcoming.

 2020   Mehr Latif ** and Kathleen Blee, “Sociological Survey of the Far Right,” In Stephen
        Ashe (eds), Researching the Far Right: Theory, Method and Practice. London:
        Routledge, Series on Fascism and the Far Right, forthcoming.

 2020   Mehr Latif ** , Kathleen Blee, Matthew DeMichele, Pete Simi, and Shayna Alexander*.
        "Why White Supremacist Women Become Disillusioned, and Why They Leave." The
        Sociologial Quarterly, forthcoming.

 2019   Kathleen Blee, “How Field Relationships Shape Theorizing.” Sociological Methods and
        Research 48 (4): 739-762.

 2019   Kathleen Blee and Mehr Latif ** , "Ku Klux Klan: Vigilantism Against Blacks,
        Immigrants and other Minorities.” Pp. 31-42 in Vigilantism Against Migrants and
        Minorities, eds. Tore Bjørgo and Miroslav Mareš. Routledge.

 2018   Steven Windisch, Pete Simi, Kathleen Blee, and Matthew DeMichele, “Understanding the
        Micro-Situational Dynamics of White Supremacist Violence in the United States,”
        Perspectives on Terrorism 12(6) December:23-37.

 2018   Mehr Latif **, Kathleen Blee, Matthew DeMichele, and Pete Simi. “How Emotional
        Dynamics Maintain and Destroy White Supremacist Groups,” Humanity & Society


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        42(4):480-501.

 2018   Kathleen Blee, “Forward,” in Jon Mulholland, Nicola Montagna, and Erin Sanders-
        McDonagh (eds.), Gendering Nationalism. Palgrave: v-vi.

 2018   Kathleen Blee, “Troubling Feminist Oral History: The Pitfalls and Possibilities of
        Studying Right-Wing Extremists” in Katriana Srigely et al (eds.), Beyond Women’s
        Words: Feminisms and the Practice of Oral History in the Twenty-first Century.
        Routledge Press.

 2017 Kathleen Blee, Matthew DeMichele, Pete Simi, and Mehr Latif **, “How Racial Violence
      is Provoked and Channeled,” Socio 9: 257-276.

 2017 Pete Simi, Kathleen Blee, Matthew DeMichele, and Steven Windisch. Addicted to Hate:
      Identity Residual Among Former White Supremacists.” American Sociological Review
      82(6): 1167-1187.

 2017   Kathleen Blee, “How Social Movement Studies Helped and Hindered the Study of White
        Supremacist Activism,” Mobilization: An International Journal 22 (1): 1-15

 2017   Kathleen Blee, “Afterword: Next Steps in the Study of Gender and Education in the
        Radical Right.” Gender and Education 29 (2): 276-279.

        Reprinted in Gender and the Radical and Extreme Right, eds. Cynthia Miller-Idriss and
        Hilary Pilkington. Routledge, 2018.

 2017   Kathleen Blee and Elizabeth Yates*, “White Supremacist Women” for Oxford Handbook
        of U.S. Women’s Social Movement Activism, edited by Holly McCammon, Lee Ann
        Banaszak, Verta Taylor and Jo Reger. New York: Oxford University Press, forthcoming.

 2016   Kathleen Blee, “Women in White Supremacist Movements in the Century After Women’s
        Suffrage.” in Holly McCammon and Lee Ann Banaszak, eds, 100 years of the Nineteenth
        Amendment: An Appraisal of Women’s Political Activism. New York: Oxford University
        Press, forthcoming.

 2016   Kathleen Blee, “Similarities/Differences in Gender and Far Right Politics in Europe and
        the United States.” In Alice Blum and Michaela Koettig, eds., Gender and Far Right
        Politics in Europe. London: Palgrave: 191-204.

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                                  14219




 2016   Kathleen Blee, “Manufacturing Fear,” Invited essay review of Christopher Bail,
        Terrified: How Anti- Muslim Fringe Organizations Became Mainstream in Contemporary
        Sociology (February): 6-9.

 2016   Kathleen Blee, “Racial Violence and Hate Crimes” in Pamela Jackson, ed., People of
        Color in the United States: Contemporary Issues in Education, Work, Communities,
        Health, and Immigration. ABC-CLIO Press.

 2016   Kathleen Blee, "Personal Effects from Far-Right Activism " in The Consequences of
        Social Movements: People, Policies, and Institutions, edited by Lorenzo Bosi, Marco
        Giugni, and Katrin Uba. New York: Oxford University Press, 66-84.

 2015   Kathleen Blee, “Politicization and Its Limits” Major essay review of Eeva Luktakallio,
        Practicing Democracy in Journal of Political Power, September 2015: 461-465.

 2015   “Kathleen Blee, Methods, Interpretation, and Ethics in the Study of White Supremacists”
        Conflict and Society: Advances in Research 1 (1), June: 9-27.

 2015   Kathleen Blee and Elizabeth Yates*, “The Place of Race in Conservative and Far-Right
        Movements.” Sociology of Race and Ethnicity 1 (1): 127-136.

               Reprinted in Zulema Valdez (ed.), Beyond Black and White. Sage, 2016.

 2015   Kathleen Blee, “Why Does Political Imagination Collapse in Grassroots Activism?”
        Contexts (American Sociological Association general interest journal) February: 32- 37

               Reprinted in Jodi O’Brien and David Newman (eds.), Sociology: Exploring the
               Architecture of Everyday Life, 10th edition. Albris Publishers, 2016.

 2014 Kathleen Blee, "Racist Movements" Blackwell Encyclopedia of Sociology. Hoboken, NJ:
      Blackwell. Revised 2nd edition, 2015.

 2014   “Kathleen Blee, “Racist Movements” Blackwell Encyclopedia of Race, Ethnicity, and
        Nationalism. Hoboken, NJ: Blackwell.

 2013   Kathleen Blee, "How Options Disappear: Causality and Emergence in Grassroots Activist
        Groups.” American Journal of Sociology 119 (3): 655-681.

 2013   Kathleen Blee and Kelsy Burke*, “Teaching about Racist Movements” in Kristen


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        Haltinner, Teaching Race and Anti-Racism in Contemporary America.” New York:
        Springer, pp. 65-71.

 2013   Kathleen Blee, “Response” in Sabine von Mering and Timothy McCarty (eds.), Right-
        Wing Radicalism Today: Perspectives from Europe and the U.S. New York: Routledge.

 2013   Kathleen Blee and Amy McDowell*, “The Duality of Spectacle and Secrecy: A Case
        Study of Fraternalism in the 1920s U.S. Ku Klux Klan” Ethnic and Racial Studies 36 (2):
        1-17.

               Reprinted in Matthew Hughey (ed.), Race and Ethnicity in Secret and Exclusive
               Social Orders: Blood and Shadow (New York: Taylor & Francis Publishers,
               2013).

 2013   Kathleen Blee and Amy McDowell*, “Interviewing Activists” in Wiley-Blackwell
        Encyclopedia of Social and Political Movements, edited by David Snow, Donatella della
        Porta, Bert Klandermans, and Doug McAdam. London: Blackwell.

 2013   Kathleen Blee, “Racial Social Movements,” in Wiley-Blackwell Encyclopedia of Social
        and Political Movements, edited by David Snow, Donatella della Porta, Bert
        Klandermans, and Doug McAdam. London: Blackwell.

 2012   Kathleen Blee, “Bolstering Feminist Politics in a Time of Conservative Ascendancy,”
        Queries, The Foundation for European Progressive Studies (FEPS), Paris. 1 (7): 112-119.

 2012   Kathleen Blee, “Does Gender Matter in United States Far Right?” Politics, Religion, and
        Ideology 13(2): 253-265.

 2012 Kathleen Blee and Amy McDowell*, “Social Movement Audiences, Sociological Forum
      27:1 (March): 1-20.

 2012   Kathleen Blee and Annette Linden, “Women in Extremist Right Parties and Movements:
        A Comparison of the Netherlands and the U.S.” in Women of the Right: Comparisons and
        Interplay Across Borders. Co-edited with Sandra Deutch. Penn State University Press.

 2012   Kathleen Blee and Sandra Deutsch, “Introduction to Women of the Right” in Women of
        the Right: Comparisons and Interplay Across Borders. Penn State University Press.

 2011   Kathleen Blee and Ashley Currier*, “Ethics Beyond the IRB: An Introductory Essay”
        Qualitative Sociology 34:3 (September): 401-433.




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                                   14221




 2010   Kathleen Blee and Kim Creasap*, “Conservative and Right-Wing Movements” Annual
        Review of Sociology (36): 269-286.

               Reprinted in Cas Mudde, ed. The Populist Radical Right: A Reader. Routledge
               2016.

 2010 Kathleen Blee and Tim Vining*, “Risks and Ethics of Social Movement Research in a
      Changing Political Climate” Research in Social Movements, Conflict and Change (30):
      43-70

 2010   Kathleen Blee, “Trajectories of Action and Belief in U.S. Organized Racism” in Assaad E.
        Azzi, Xenia Chryssochoou, Bert Klandermans, and Bernd Simon (eds.), Identity and
        Participation in Culturally Diverse Societies: A Multidisciplinary Perspective. London:
        Blackwell, pp. 239-255.

 2010   Kathleen Blee, “Access and Methods for Researching Hidden Communities.” E-Sharp
        (Glasgow,Scotland), www.glac.ac.uk/esharp.

 2009   Kathleen Blee, “The Stigma of Racial Activism” in Fabrizio Butera and John Levine
        (eds.), Coping with Minority Status: Responses to Exclusion and Inclusion. Cambridge
        University Press, pp. 222-242.

 2008   Kathleen Blee, “The Space of Racial Hate.” Hate Crimes. Barbara Perry (ed.). New
        York: Praeger, pp. 41-50.

 2008   Kathleen Blee, “The Hidden Weight of the Past: Paths and Micro-History in the Study of
        Social Movements,” in John Walton, Chris DeCorse; and James Brooks (eds.), Small
        Worlds: Method, Meaning, and Narrative in Microhistory. Sante Fe: School of Americas
        Research (SAR) Press.

 2007   Kathleen Blee, “Voyeurism, Ethics, and the Lure of the Extraordinary: Lessons from
        Studying America's Underground "Social Thought and Research, Vol. 28, pp. 3-22.

 2007 Kathleen Blee, “Interview on Social Movements.” Social Thought and Research, Vol. 28,
      pp. 23-33.

 2007   Kathleen Blee, “Ethnographies of the Far Right.” Journal of Contemporary Ethnography,
        Vol. 36 (2): 119-28.

 2007   Kathleen Blee, “White Supremacism as Deviance” in Erich Goode and Angus Vail (eds.),
        Extreme Deviance. Thousand Oaks, CA: Sage.


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                                   14222




 2007   Kathleen Blee, “The Microdynamics of Hate Violence: Interpretive Analyses and
        Implications for Responses,” American Behavioral Scientist, Vol. 51, no. 2 special issue
        on Responding to Hate Violence: New Challenges, edited by Jack Levin and Gordana
        Rabrenovich, pp. 258-270.

 2006   Kathleen Blee, “Can We Learn from Racists?” Mobilization: An International Journal
        (December), pp. 479-82.

 2006   Kathleen Blee and Ashley Currier*, "How Local Social Movement Groups Handle a
        Presidential Election" Qualitative Sociology 29(3): 261-280.

               Reprinted with modifications as “Are National Politics Local? Social Movement
               Responses to the 2004 U.S. Presidential Election” in Javier Auyero (ed.), Politics
               Under the Microscope: Readings in Political Ethnography. Springer, 2008.

 2005 Kathleen Blee, “Women and Organized Racial Terrorism in the U.S.," Studies in Conflict
      and Terrorism, Vol 28, No. 3 (Sept/Oct), pp. 421-433.

               Reprinted in Cindy Ness (ed.). 2007. Female Terrorism and Militancy: Agency,
               Utility, and Organization (Contemporary Terrorism Studies). NY: Taylor and
               Francis.

 2005   Kathleen Blee and Ashley Currier*, "Character-Building: The Dynamics of Emerging
        Social Movement Groups,” Mobilization: An International Journal Vol 10, no. 1
        (February), 129-44.

 2005 Kathleen Blee, “Racial Violence in the United States” Ethnic and Racial Studies, 28:4
      (July), pp. 599-619.

 2005           Kathleen Blee, “Positioning Hate” Journal of Hate Studies, Vol 3, pp. 95-206.

 2005   Kathleen Blee, "Racist Movements" Blackwell Encyclopedia of Sociology New York:
        Blackwell.

 2004   Kathleen Blee, “Social Origins of Appalachian Poverty: Markets, Cultural Strategies, and
        the State in an Appalachian Kentucky Community, 1804-1940,” (co-authored with Dwight
        Billings), Rethinking Marxism 16:1 (January): 19-36.

 2003    Kathleen Blee, “Studying the Enemy” In Barry Glassner and Rosanna Hertz (eds.), Our
        Studies, Ourselves. (New York: Oxford University Press):13-23.



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                                   14223




 2002   Kathleen Blee, “Ku Klux Klan” in Michael Kimmel and Amy Aronson (eds.),
        Encyclopedia on Men and Masculinities (New York: ABC-Clio Press).

 2002   Kathleen Blee, “The Banality of Violence” Contexts, (Fall/Winter), Vol, 1 (4): 60-61.

 2002   Kathleen Blee and Verta Taylor, “The Uses of Semi-Structured Interviews in Social
        Movement Research” in Bert Klandermans and Suzanne Staggenborg (eds.), Methods in
        Social Movement Research. (Minneapolis: University of Minnesota Press), pp. 92-117.

 2002   Kathleen Blee, “The Gendered Organization of Hate: Women in the U.S. Ku Klux Klan”
        in Paola Bacchetta and Margaret Power (eds.), Right-Wing Women: From Conservatives
        to Extremists Around the World (New York: Routledge), pp. 101-114.

               Reprinted in Verta Taylor and Nancy Whittier, Feminist Frontiers 6. (New York:
               McGraw Hill, 2003).

 2002   Kathleen Blee, “Promises and Pitfalls of Interdisciplinarity,” in Robyn Wiegman (ed.),
        Women’s Studies on Its Own (Durham: Duke University Press): 177-182.

 2002   Dwight Billings and Kathleen Blee, “Feuds and Violence -Media Coverage” in
        Encyclopedia of Appalachia (Knoxville: University of Tennessee Press).

 2001   Kathleen Blee, “What Else We Need to Know: Developing an Agenda for Studying the
        Racist Movement,” Research in Political Sociology, Vol 9, pp. 171-178.

               Republished in Betty A. Dobratz et. al, The Politics of Social Inequality (New
               York: JAI/Elsevier Science), pp. 171-178.

 2001   Kathleen Blee, “Ku Klux Klan” in Encyclopedia of Fundamentalism (Routledge/Berkshire
        Reference Works).

 2000   Dwight Billings and Kathleen Blee, “Authors’ Response” to “A Symposium on The Road
        to Poverty: The Making of Wealth and Hardship in Appalachia” in Journal of
        Appalachian Studies 6: 1-2 (Spring-Fall, 2000): 29-34.

 2000   Kathleen Blee, Women and Racist Apocalyptic Organizing. Journal of Millennial Studies
        (on-line publication of Boston University).

 2000   Kathleen Blee, “White on White: Interviewing Women in U.S. White Supremacist
        Groups.” in France Winddance Twine and Jonathan Warren (eds.), Race-ing Research:
        Methodological and Ethical Dilemmas in Field Research. (New York: New York
        University Press), pp. 93-110.


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                                   14224




 2000   Kathleen Blee, “Ku Klux Klan,” in Wade Clark Roof (ed.), Contemporary American
        Religion. ( New York: MacMillan Publishing).

 1999    Kathleen Blee, “From the Field to the Courthouse: The Perils of Privilege,” Law and
        Social Inquiry Vol 24, No. 4 (November): 401-405.

 1999   Kathleen Blee, "Ku Klux Klan" in Neil L. Shumsky (ed.), The Encyclopedia of Urban
        America: The Cities and Suburbs (N.Y.: AFL-CIO Publishers).

 1999   Dwight Billings and Kathleen Blee, "Where Bloodshed is a Pastime': Mountain Feuds and
        Appalachian Stereotyping"in Dwight Billings, Gurney Norman and Katherine Ledford,
        (eds.), Confronting Appalachian Stereotypes: Back Talk From an American Region.
        (Lexington: University Press of Kentucky), pp. 118-137.

 1998   Kathleen Blee, “White Knuckle Research: Emotional Dynamics in Fieldwork with Racist
        Activists.” Qualitative Sociology 21:4 (December), pp. 381-399.

 1998   Kathleen Blee, “Ku Klux Klan," "Radicalism," and "Antifeminism" in Wilma Mankiller
        et.al. (eds.), The Reader's Companion to U.S. Women's History (NY: Houghton Mifflin).

 1998   Kathleen Blee, “Reading Racism: Toward an Understanding of Racist Group Affiliation"
        in Kathleen Blee (ed.), No Middle Ground: Women & Radical Protest. (New York
        University Press), pp. 1-15.

 1998   Kathleen Blee, “Women on the Left/Women on the Right” in Kathleen Blee (ed.), No
        Middle Ground: Women & Radical Protest. New York University Press, pp. 180-198.

 1997    Kathleen Blee, “Motherhood in the Radical Right” in Alexis Jetter, Annelise Orleck, and
        Diana Taylor (eds.), The Politics of Motherhood: Activist Voices from Left to Right
        (Hanover: University Press of New England).

 1996   Kathleen Blee, "Becoming a Racist: Women in Contemporary Ku Klux Klan and Neo-
        Nazi Groups" Gender & Society 10:6 (December), pp. 680-702.

               Reprinted in Barbara Perry (ed.), Hate and Bias Crime: A Reader (New York:
               Routledge, 2004.

 1996   Dwight Billings and Kathleen Blee, "Race Differences in the Origin and Consequences of
        Chronic Poverty" Social Science History 20:3 (Fall), pp. 345-373.

               Reprinted as “Race and the Roots of Appalachian Poverty: Clay County,


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                                   14225




               Kentucky, 1850-1910" in John C. Inscoe (ed.), Appalachians and Race.
               Lexington: University Press of Kentucky, 2000.

 1996   Dwight Billings and Kathleen Blee, "Violence and Local State Formation: A Longitudinal
        Case Study of Appalachian Feuding,” Law and Society Review 30:4 (November, pp.671-
        705.

 1996   Dwight Billings and Kathleen Blee, "'Where the Sun Set Crimson and the Moon Rose
        Red': Writing Appalachia and the Kentucky Mountain Feuds" Southern Cultures 2:3-4,
        pp.328-352.

               Reprinted in Southern Cultures: The Fifteenth Anniversary Reader, 1993-
               2008. Larry J. Griffin and Harry L. Watson (eds.). Chapel Hill, NC: University
               of North Carolina Press, 2008

 1996   Kathleen Blee, "Engendering Conspiracy: Women in Rightist Theories and Movements"
        Pp. 91-112 in Eric Ward (ed.), Conspiracies: Real Grievances, Paranoia and Mass
        Movements. Seattle: PB Publishing.

 1995   Kathleen Blee and Ann Tickamyer, "Racial Differences in Men's Attitudes About
        Women's Gender Roles" Journal of Marriage and the Family, February: 1-10.

 1995   Dwight Billings and Kathleen Blee, "Agriculture in the Kentucky Mountains” in Pudup,
        M.B., D.B. Billings and A. Waller (eds.), Appalachia in the Making: The Mountain South
        in the Nineteenth Century. Chapel Hill: University of North Carolina Press.

 1993   Kathleen Blee, "Evidence, Empathy and Ethics: Lessons from Oral Histories of the Klan,"
        Journal of American History 80:2 (September): 596-606.

               Reprinted in Al Thomson and Robert B. Perks, Oral History Reader (London:
               Routledge, 1998.)

 1992   Dwight Billings and Kathleen Blee, "Appalachian Inequality in the Nineteenth Century:
        The Case of Beech Creek, Kentucky" The Journal of the Appalachian Studies Association,
        vol. 4 (March), pp. 113-123.

 1991   Kathleen Blee, "Women in the 1920's Klan Movement," Feminist Studies, vol. 17, no. 1,
        (Spring), pp. 57-77.

               Reprinted in by Sharon Block and Ruth Alexander (eds.), Major Problems in
               American Women's History, 5e. Cengage Learning, 2014.



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               Reprinted in Nancy Hewitt et al (eds.), Women, Families, and Communities.
               Longman, 2005.

               Reprinted in Claire G. Moses and Heidi Hartmann (eds.), Women in Struggle,
               Urbana: University of Illinois Press, 1995.

               Reprinted in Nancy Hewitt and Kirsten Delegard, Women, Families, and
               Communities, Vol, II. New York: Longman/Pearson, 2007.


 1991   Kathleen Blee, "The Catholic Church and Central American Politics," in Kenneth
        Coleman and George Herring (eds.), Understanding the Central American Crisis: Sources
        of Conflict, U.S. Policy, and Options for Peace (Wilmington: Scholarly Resources Press,
        pp. 55-75.

               An earlier version appeared in Coleman and Herring (eds.), The Central American
               Crisis: Sources of Conflict and the Failure of U.S. Policy. (Wilmington: Scholarly
               Resources Press, 1985), pp. 55-71.)

 1990   Kathleen Blee and Ann Tickamyer, "The Racial Convergence Thesis in Women's
        Intergenerational Occupational Mobility" Social Science Quarterly, vol. 71, no. 4,
        (December), pp. 711-728.

 1990   Dwight Billings and Kathleen Blee, "Family Strategies in a Subsistence Economy: Beech
        Creek, Kentucky, 1850-1942" Sociological Perspectives, vol. 33, no.1, pp. 63-88.

 1990   Kathleen Blee, "Right-Wing Political Movements" in Angela Howard Zophy (ed.)
        Handbook of American Women's History. New York: Garland Publishing, pp. 513-514
        (revised, 1994; 1998; 2000).

 1989   Kathleen Blee, "The Family as a Socio-Economic Unit" in Helen Tierney (ed.) Women's
        Studies Encyclopedia. New York: Greenwood Press, pp. 129-132.

 1989   Dwight Billings, Kathleen Blee and Paul Weingartner, "Agriculture in Pre-Industrial
        Appalachia: Subsistence Farming in Beech Creek, 1850-1880") Journal of the
        Appalachian Studies Association, vol. 1, pp. 70-80.

 1987   Kathleen Blee, "Gender Ideology and the Role of Women in the 1920's Klan Movement,"
        Sociological Spectrum, vol. 7, no. 1, pp. 73-97.

 1986   Kathleen Blee and Ann Tickamyer, "Black-White Differences in Mother-to-Daughter
        Transmission of Sex-Role Attitudes" Sociological Quarterly, vol. 28, no. 2 (Summer), pp.


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        205-222 .

 1986   Dwight Billings and Kathleen Blee, "Reconstructing Daily Life in the Past: A
        Hermeneutic Approach to Ethnographic Data" Sociological Quarterly, vol. 27, no. 4
        (winter), pp. 443-462.

 1986   Dwight Billings and Kathleen Blee, "Bringing History Back In: The Historicity of Social
        Relations" Current Perspectives in Social Theory, vol. 7, pp. 51-68.

 1986   Kathleen Blee, "Teaching a Theory-Based Sociology of Gender Course", Teaching
        Sociology, vol. 14, no. 4 (July), pp. 162-167.

 1986   Dwight Billings, Kathleen Blee and Louis E. Swanson, “Culture, Family and Community
        in Pre-Industrial Appalachia," Appalachian Journal, vol. 13, no. 2, pp. 154-170.

 1986   Kathleen Blee, “The Question of Needs," Contemporary Sociology, vol. 15, no. 6
        (November), pp. 823-826.

 1986   Dwight Billings, Kathleen Blee Louis Swanson, "Culture, Family and Community:
        Response to Paul Salstrom, Appalachian Journal, vol. 13, no. 4 (summer), pp. 350-352.

 1985   Kathleen Blee, "Family Patterns and the Politicization of Consumption Relations,"
        Sociological Spectrum, vol. 5, no. 4, pp. 295-316.

 1985   Kathleen Blee, "Mobility and Political Orientation: An Analysis of Sex Differences,"
        Sociological Perspectives, vol. 28, no. 3, pp. 385-400.

 1985   Kathleen Blee, "Women of the Right," Feminist Collections, vol. 7, no. 1, pp. 4-6.

 1984   Kathleen Blee, "Family Ties and Class Conflict: Politics of Immigrant Communities in
        the Great Lakes Region, 1890-1920," Social Problems, vol. 31, no. 3, pp. 311-321.

 1982   Kathleen Blee and Glenn Yago, "The Political Economy of Exploitation: A Revision,")
        The Insurgent Sociologist, vol. 11, no. 2, pp. 63-72.

 1980   Kathleen Blee and Al Gedicks, "The Emergence of Socialist Political Culture Among
        Finnish Immigrants in Minnesota Mining Communities," in Maurice Zeitlin (ed.) Classes,
        Class Conflict and the State: Empirical Studies in Class Analysis. Cambridge: Winthrop
        Publishers, pp. 172-192.




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 RESEARCH REPORTS
 2004 “Racial Dynamics and Poverty in Appalachia” Report to the State Legislature of
      Kentucky.

 1994   "Historical Origins of Chronic Poverty: A Longitudinal Case Study," Report to the Small
        Grants Program of the Institute for Research on Poverty at the University of Wisconsin-
        Madison and the U.S. Department of Health and Human Services, 86 p.

 1992 "Appalachian Feuding: A Case Study of Violent Disputing," Report to the Fund for
      Research on Dispute Resolution of the National Institute for Dispute Resolution
      (coauthored with Dwight Billings). 110 p.

 1991   "Causes and Consequences of Persistent Rural Poverty: A Longitudinal Case Study of an
        Appalachian Community," Report to the Rural Economic Program of the Ford Foundation
        and the Aspen Institute (coauthored with Dwight Billings). 180 p.


 BOOK REVIEWS IN ACADEMIC JOURNALS

 2016   Review of Carolyn Lee, Do-It-Yourself Democracy in Mobilization, Fall: 548-9.

 2016   Review of David R. Dietrich, Rebellious Conservatives: Social Movements in Defense of
        Privilege. Contemporary Sociology 45:2 (Feb): 165-7.

 2014   Review of Claire Conner, Wrapped in the Flag: A Personal History of America’s Radical
        Right in Women’s Review of Books (March/April).

 2014   Review of Marvin Dunn, The Beast in Florida: A History of Anti-Black Violence in
        Ethnic and Racial Studies 37:10 (February).

 2013 Review of Matthew Hughey, White Bound: Nationalists, Antiracists, and the Shared
      Meaning of Race, in Social Forces (Spring).

 2012   Review of Kirsten Marie Delegard, Battling Miss Bolsheviki: The Origins of Female
        Conservatism in the United States. Women and Social Movements in the United States,
        1600-2000 (Fall).

 2012   Review of Michael Katz, Why Don't American Cities Burn?, American Journal of
        Sociology (fall).

 2012   Review of Craig Fox, Everyday Klanfolk: White Protestant Life and the KKK in 1920s
        Michigan. Kentucky Register.


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 2011   Review of Robert Futrell and Peter Simi, American Swastika. Contemporary Sociology
        40 (January): 85-86.

 2010   Review of Amy Louise Wood, Lynching and Spectacle: Witnessing Racial Violence in
        America, 1890-1940. Ethnic and Racial Studies 33:3 (March): 565-6.

 2009   Review of A. Creager et al, Science Without Laws: Model Systems, Cases, Exemplary
        Narratives. American Journal of Sociology. Vol 113, no 3, pp 944-5.

 2007   Review of E. Schlatter, Aryan Cowboys, Western Historical Quarterly

 2007   Review of Monica McDermott, Working-Class White. Contemporary Sociology 36(3):
        226-7.

 2005   Review of David Cunningham, There’s Something Happening Here: The New Left, The
        Klan, and FBI Counterintelligence, Contemporary Sociology

 2004   Review of Jeff Goodwin and James Jasper, eds.. 2004. Rethinking Social Movements:
        Structure, Meaning, and Emotion. Critical Mass: The Bulletin of the Collective Behavior
        and Social Movements Section of the American Sociological Association.

 2004   Review of Ammu Joseph and Kalpana Sharma, Terror, Counter Terror: Women Speak
        Out. Feminist Theory, Vol 5, no. 3.

 2004   Review of Mattias Gardell, Gods of the Blood: The Pagan Revival and White Separatism.
        Journal of Contemporary Religion, October.

 2004   Review of Silke Roth, Building Movement Bridges. American Journal of Sociology, 109:
        6 (May): 1521-2.

 2003   “Troubling Women’s History: Women in Right-Wing and Colonial Politics” Review of
        June Melby Benowitz. Days of Discontent: American Women and Right-Wing Politics,
        1933-1945; Kim E. Nielsen. Un-American Womanhood: Antiradicalism, Antifeminism,
        and the First Red Scare; and Lora Wildenthal. German Women for Empire, 1884-1945,
        Journal of Women’s History.

 2003   Review of Carol Swain, The New White Nationalism in America. Journal of American
        History (April): 547-8.

 2002   Review of Encyclopedia of White Power Rural Sociology (June) 67:2, p306-9.



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 2001   Review of Rebecca Klatch, A Generation Divided : the New Left, the New Right, and the
        1960s, Social Forces.

 2001   Review of Sandra Barney, Authorized to Heal: Gender, Class, and the Transformation of
        Medicine in Appalachia, 1880-1930, Journal of Appalachian Studies.

 1999   “Might Makes Right.” Review of Sara Diamond, Not By Politics Alone: The Enduring
        Influence of the Christian Right; Jean Hardisty, Mobilizing Resentment: Conservative
        Resurgence from the John Birch Society to the Promise Keepers; and Donna Minkowitz,
        Ferocious Romance: What My Encounters with the Right Taught Me about Sex, God, and
        Fury, Women’s Review of Books, Vol 17, No. 3 (December):4-6.

 1999   Review of George C. Wright, Racial Violence in Kentucky, 1865-1940: Lynchings, Mob
        Rule, and ‘Legal Lynchings’, Ethnic and Racial Studies 22:4 (July), pp.774-775.

 1998   Review of Peter Merkl and Leonard Weinberg, The Revival of Right-Wing Extremism in
        the Nineties, Contemporary Sociology 27:3 (May): 303-4.

 1998   Review of Renate Siebert, Secrets of Life and Death, Contemporary Sociology 26:5
        (Sept.): 619-620.

 1999   Review of Glenda Elizabeth Gilmore, Gender and Jim Crow: Women and the Politics of
        White Supremacy in North Carolina, 1896-1920, Common Knowledge 7:3 (winter):183-4.

 1998   Review of Susan Marshall, Splintered Sisterhood: Gender and Class in the Campaign
        Against Woman Suffrage, American Journal of Sociology 104:2 (Sept.): 537-539.

 1997   Review of Philip Jenkins, Hoods and Shirts: The Extreme Right in Pennsylvania, 1925-
        1950, Journal of American History (December), 1114-1115.

 1997   Review essay of Dan Carter, The Politics of Race; Kenneth Stern, A Force Upon the
        Plain; and Chip Berlet, Eyes Right, Contemporary Sociology 26:1 (January): 26-28.

 1996   Review of George M. Fredrickson, White Supremacy: A Comparative Study in American
        and South African History, Contemporary Sociology 25:4 (July), 443.

 1995 Review of James Aho, This Thing of Darkness, Contemporary Sociology 24:6
      (November), 817-818.

 1995   Review of Nancy MacLean, Behind the Mask of Chivalry, Contemporary Sociology 24:3
        (May), 346-7.



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 1995   Review of Vron Ware, Beyond the Pale: White Women, Racism and History, Journal of
        the History of the Behavioral Sciences.

 1994   Review of Mary Jackman, The Velvet Glove, Contemporary Sociology 23:6 (November):
        792-793.

 1994   Review of William B. Hixson, Jr., Search for the American Right Wing: An Analysis of
        the Social Science Record, Journal of American History, June: 347-8.

 1994   Review of Steven Seidman, Embattled Eros: Sexual Politics and Ethics in Contemporary
        America, Journal of the History of Sexuality 4:3 (Jan):480-482.

 1993   Review of Douglas Rose (ed.), The Emergence of David Duke and the Politics of Race,
        Contemporary Sociology 22:3 (May): 384-385.

 1993   Review of Shawn Lay (ed.), The Invisible Empire in the West: Toward a New Historical
        Appraisal of the Ku Klux Klan of the 1920s, in The Historian 55:3 (Spring): 586-587.

 1992   Review of Leonard Moore, Citizen Klansmen: The Ku Klux Klan in Indiana, 1921-1928
        and Richard Tucker, The Dragon and The Cross: The Rise and Fall of the Ku Klux Klan
        in Middle America, in Journal of American History, (December): 1219-1221.

 1992   Review of Michael Newton and Judy Ann Newton, The Ku Klux Klan: An Encyclopedia,
        in The Register of the Kentucky Historical Society, vol. 89, no. 4, pp. 433-434.

 1991   Review of David Blankenhorn et. al. (eds.), Rebuilding the Nest, in Journal of Marriage
        and The Family, vol. 53, no. 4, p. 819.

 1989   Review of Rebecca E. Klatch, Women of the New Right, in American Journal of
        Sociology, vol. 94, no. 4, pp. 913-915.

 1989   Review of Sandford M. Dornbusch and Myra H. Strober (eds.), Feminism, Children, and
        the New Families, in Journal of Marriage and the Family, vol. 51, no. 4, pp. 1093-1094.

 1988   Review of Janet Sayers, et al. (eds.), Engels Revisited: New Feminist Essays, in
        Contemporary Sociology, vol. 17, no. 2, p. 143.

 1987   Review of Charles Stephenson and Robert Asher (eds.), Life and Labor: Dimensions of
        American Working-Class History," in Contemporary Sociology, vol. 16, no. 6, p. 777.

 1986   Review of Ruth Milkman (ed.), Women, Work and Protest: A History of U.S. Women's
        Labor History, in Contemporary Sociology, vol. 15, no. 4, pp. 602-603.


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 1986   Review of Peter Kivisto, Immigrant Socialists in the United States: The Case of Finns and
        the Left, in Contemporary Sociology, vol. 15, no.1, pp. 141-142.

 1985   Review of Julia Kirk Blackwelder, Women of the Depression, in Contemporary
        Sociology, vol. 14, no. 1, pp. 78-80.

 1983   Reviews of Lydia Sargent (ed.), Women and Revolution and Sheila Rowbotham, Lynne
        Segal and Hilary Wainwright, Beyond the Fragments: Feminism and the Making of
        Sociology, in Review of Radical Political Economics, vol. 15, no. 1, pp. 175-177.

 1980   Review of Christopher Jencks, "Heredity, Environment and Public Policy Reconsidered,"
        in Feminist Collections, vol. 2, no. 2, p. 11.

 1979   Review of Kathleen McCourt, Working Class Women and Grass-Roots Politics, in The
        Insurgent Sociologist, vol. 8, no. 4, pp. 98-99.

 OTHER PUBLICATIONS

 2013   “Selling Hatred: The 1920s Ku Klux Klan.” Podcast recorded for United States Holocaust
        Memorial Museum’s audio series ‘Voices on Antisemitism.” Available on-line and at the
        museum.

 2013   “Racist and Right-Wing Extremist Movements in the U.S.: Two Things Scholars Know,
        One Thing Scholars Don’t Know, and the Implications for Antiracist Activism”
        Mobilizing Ideas, published by the Center for the Study of Social Movements at the
        University of Notre Dame (September)

 2009   “Defining and Communicating Standards for Systematic Qualitative Research.” Report of
        Workshop on Interdisciplinary Standards for Systematic Qualitative Research.
        Washington, D.C.: National Science Foundation.

 2004   “Evaluating Qualitative Research” Report and Proceedings from the National Science
        Foundation (NSF) Workshop on the Scientific Foundations of Qualitative Research.

 2002   “What is [Still] to be Done? Ideas for Studying the Racist Right,” The Public Eye.

 2002 “The Other Half” Intelligence Report [The publication of the Southern Poverty Law
      Center) (spring).

 1998   "Interdisciplinary Conversations: Issues of Understanding and Dialogue Across
        Disciplines" in ASA Section on Sex and Gender Newsletter.


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 1997   “Proseminar in Race, Class and Gender” in ASA Teaching Resources Guide in Race,
        Gender and Class. Washington, D.C.: American Sociological Association.

 1996   "Proseminar in Work, Gender and Inequality" in ASA Teaching Resources Guide in Sex
        and Gender. Washington, D.C.: American Sociological Association.

 1994   “Agricultural Development and Poverty" (co-authored with Dwight Billings). Paper
        Series of the University of Wisconsin Institute for Research on Poverty.

 1992 “Communities, Diversity, and Oral History.” Videocassette of teleconference talk, held
      October 15, 1992 in Cleveland. Available from Oral History Association.

 1991   "Social-Historical Perspectives on Work, Gender and Inequality" in Comparative-
        Historical Sociology: Syllabi and Teaching Materials. Washington, D.C.: American
        Sociological Association.

 1990   "Theories of Gender," in The Sociology of Sex and Gender: Syllabi and Teaching
        Materials (second edition). Washington, D.C.: American Sociological Association.

 1985   "Views of Gender and Family," in Barrie Thorne, et al., The Sociology of Sex and
        Gender: Syllabi and Teaching Materials. Washington, D.C.: American Sociological
        Association, pp. 173-177.

 1985   "Pre-Capitalist Modes of Social Cooperation: A Reinterpretation of Family and
        Community Bonds," (with Dwight Billings and Louis Swanson) Appalachian Center
        Occasional Paper Series, no. 4.

 1985   "Critical Book Review," in Barrie Thorne, et al., The Sociology of Sex and Gender:
        Syllabi and Teaching Materials. Washington, D.C.: American Sociological Association,
        p. 130.


 REVIEWS AND OPINION PIECES IN NEWSPAPERS AND WEBSITES

 2019   “Next Steps for Scholarship on Gender and the Far-Right” Center for Research on
        Extremism, University of Oslo, available at https://www.sv.uio.no/c-rex/english/news-
        and-events/news/2018/blee-next-steps.html

 2018   “When the Klan Returns.” Invited Essay in Public Books.
        http://www.publicbooks.org/when-the-klan-returns/



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 2015   “Does Mental Health Influence Entry into Violent Extremism and Domestic Hate
        Groups?” Clinical Psychiatric News, July 18 (with Pete Simi and Matthew DeMichele)
        http://www.clinicalpsychiatrynews.com/?id=2407&tx_ttnews[tt_news]=419129&cHash=c
        f0655974318667e26b7cb8dc47cdd8a

 2014   “Why Racists and Anti-Semites Kill.” CNN.com opinion piece.
        http://www.cnn.com/2014/04/15/opinion/blee-hate-groups/

 1992   "Don't Forget David Duke: Race Hate is Thriving," Review of Douglas Rose (ed.), The
        Emergence of David Duke and the Politics of Race, Lexington Herald-Leader, August 30.

 1992   "Recalling What the '60s Were - And Were Not," Review of David Chalmers, And the
        Crooked Places Made Straight: The Struggle for Social Change in the 1960s, Lexington
        Herald-Leader, June 7.

 1992   "Race, Taxes and the Decline of American Liberalism," Review of Thomas Byrne Edsall
        and Mary D. Edsall, Chain Reaction: The Impact of Race, Rights and Taxes on American
        Politics, Lexington Herald-Leader, February 2.

 1991   "The Button-Down Racist: Under Duke and Others, Racism is Reworking Its Public Face,
        Constituency" Invited Guest Editorial, Lexington Herald-Leader, November.




 RESEARCH GRANTS AND FELLOWSHIPS

 External Grants

 2015-2018     Subject expert, “Domestic Radicalization to Violent Extremism.” National
               Institute of Justice, Department of Justice, grant to RTI International.

 2006-2007     P.I. “Research Experience for Undergraduates” award. National Science
               Foundation, $3,000

 2006                  P.I. for Ashley Currier Doctoral Dissertation Improvement Grant on “The
               Visibility of Social Movement Organizations in South Africa and Namibia”,
               National Science Foundation, $7,500.

 2004-2006     “The Origins of Social Movements- Renewal Request” National Science
               Foundation, $97,000.


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 2003-2004   “The Origins of Social Movements” National Science Foundation, $57,000.

 2003-2005   “Consequences of Ethnoviolence” Maurice Falk Medical Fund, $47,00 direct
             costs.

 2002-2003   P.I. for Connie Oxford Doctoral Dissertation Improvement Grant on “Gender-
             Based Persecution in Asylum Policy and Law in the United States,” National
             Science Foundation, $7,356.

 1999-2000   “New Scholarship on Women & Religion.” Grants in support of a Women’s
             Studies Symposium from The Pittsburgh Foundation ($1,000) and the American
             Jewish Committee-Pittsburgh ($200)

 1994-95     "Gender and the Politics of Organized Hate" ($20,000 fellowship). American
             Council on Learned Societies" (declined to accept University of Kentucky
             Research Professorship)

 1993-94     "Historical Origins of Chronic Poverty: A Longitudinal Case Study" ($15,000
             direct costs). Institute for Research on Poverty, University of Wisconsin-Madison.
             Principal Investigator with Dwight Billings.

 1991-92     "Appalachian Feuding: A Longitudinal Case Study of Violent Disputing" ($65,000
             direct costs). Fund for Research on Dispute Resolution (Ford Foundation_.
             Principal Investigator with Dwight Billings.

 1989-91     "Causes and Consequences of Persistent Rural Poverty: A Longitudinal Case
             Study of an Appalachian Community" ($52,000 direct costs). Rural Economic
             Program of the Ford Foundation and the Aspen Institute. Principal Investigator
             with Dwight Billings.

 1988               Appalachian Studies Research Fellowship Award ($1330 direct costs). For
             coding tax roll data on "Beech Creek" Kentucky. Principal Investigator with
             Dwight Billings.

 1987               Kentucky Foundation for Women. Research Award ($1500 direct costs).
             To do interviews on the Indiana Women of the Ku Klux Klan.

 1987             Kentucky Humanities Council Grant ($400). For partial funding of the
             Women's Studies Symposium on Gender and Social Issues.

 1986               National Endowment for the Humanities. Summer Stipend Fellowship


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               ($3000). To collect data on the Indiana Women of the Ku Klux Klan.

 1986                 Southern Regional Education Board. Faculty Research Support Grant
               ($662). To use archives at the Indiana State Library for research on Women of the
               Ku Klux Klan.

 1984                   National Endowment for the Humanities. "Travel to Collections" grant
               ($500). For research at the Library of Congress on women in U.S. Nazi Party and
               affiliated organizations.

 1983-84       United States Department of Agriculture, Economic Research Service.
               Continuation of $41,500 grant "Appalachian Migration Study: Beech Creek"
               (James Hougland, Principal Investigator, Dwight Billings, Kathleen Blee and
               Louis Swanson, Co-Principal Investigators).



 Internal Grants

 2002-06       Grants for Social Movements Forum speaker series. University of Pittsburgh.
               Faculty of Arts and Sciences (with John Markoff, William Brustein, Deborah
               Gould).

 2000-2001     Gender and Social Networks Speakers’ Series grant. University of Pittsburgh,
               Faculty of Arts and Sciences (with Patrick Doreian).

 1998-99       “Ethnography of Racist Groups” $500. University of Pittsburgh, Faculty of Arts
               and Sciences.

 1994-95       "Women in Racist Politics," ($30,000). University of Kentucky Research
               Professorship for 1994-95.

 1993               "Women's Roles and Gender Ideologies in Contemporary Far Right
               Movements" ($2,870). Research Committee, University of Kentucky.

 1991-92       "Women's Labor Force Participation" ($12,000). Center for Computational
               Sciences, University of Kentucky (with Ann Tickamyer).

 1990-91       "Black and White Women's Labor Force Participation" ($12,000). Center for
               Computational Sciences, University of Kentucky (with Ann Tickamyer).

 1988-92       Faculty Research Support Award ($2500/yr for 3 years). For general research


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             support, University of Kentucky.

 1988        University Studies Program summer fellowship

 1987               Food, Environment, Agric & Society in Transition summer fellowship

 1986-87     University of Kentucky Research Committee award ($2300). "Maternal Influences
             on Daughters' and Sons' Work Behavior and Sex Role Attitudes." (with Ann
             Tickamyer).

 1986               University of Kentucky Research Foundation. Small Grants Award ($354).
             To use archives at the New York Public Library for research on Women of the Ku
             Klux Klan.

 1985               University of Kentucky Research Foundation. Small Grants Award ($600).
             To complete coding of manuscript census records for historical demography of
             family and community in "Beech Creek" Kentucky (with Dwight Billings).

 1985               University of Kentucky Research Foundation. Small Grants Award ($525).
             To use archives at the Arthur and Elizabeth Schlesinger Library on the History of
             Women at Radcliffe College for research on women in the U.S. anti-female
             suffrage movement.

 1984-85     University of Kentucky Research Committee award ($3200). "Historical
             Demography of 'Beech Creek,' Kentucky" (with Dwight Billings and Louis
             Swanson).

 1984                University of Kentucky. Summer Faculty Research Fellowship ($2400).
             For research on the 1920's Women of the Ku Klux Klan.
 1984                University of Kentucky Research Foundation. Small Grants Award ($500).
             For transcription of oral history tapes on family and community history in
             Appalachian Kentucky (with Louis Swanson).

 1984               University of Kentucky Computing Center. CPU grant ($2000). For
             analysis of longitudinal data on women's and men's labor force participation (with
             Ann Tickamyer).

 1983-84     University of Kentucky Research Committee ($2295). "A Longitudinal Study of
             the Structure of Clerical Work and Female Labor Force Participation" (with Ann
             Tickamyer).

 1983               University of Kentucky. Summer Faculty Research Fellowship ($1600).


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               For research on women in right-wing political movements.



 INVITED PRESENTATIONS

 2018   “Methodological Approaches to Studying the Far Right.” Keynote Address for Summer
        School on Concepts and Methods for Research on Far Right Politics, Scuola Normale
        Superiore, Florence, Italy (June).

 2018   “Women on the Far Right.” Keynote presentation, University of Oslo, Norway (May).

 2018   “What We Know, What We Don’t Know, What We Will Never Know About White
        Supremacists.” St Francis College, Brooklyn (April).

 2018   “Ethnographies of the Political Right.” Keynote Presentation, University of Chicago
        Ethnography Conference (March).

 2018   “Former White Supremacists” Invited Panel on Men & Masculinities, NYU (February)

 2017   “Racial Violence.” Invited presentation to Fondation Maison des sciences de l'homme and
        the École des hautes études en sciences sociales, Collège d'études mondiales, Paris (May).

 2017   “The Emotional Dynamics of White Supremacism.” Invited presentation for mini-
        conference at Centre for Trust, Peace and Social Relations, Coventry University, England
        (July).

 2017   “Small Group Dynamics.” Invited talk for Gothenburg Meeting Science Symposium,
        Gothenberg, Sweden (May).

 2017   “Sexual Politics in the Far-Right.” Invited talk for symposium “The French National
        Front and the Global Populist Movement.” New York University (April).

 2017   “Women and Racism,” Invited campus talk, University of Virginia (April).

 2017   “Fieldwork among White Supremacists,” Invited talk, University of Texas-Austin
        (February).

 2017   “Fallacies about Right Wing Extremism.” Robin Williams Lecture, Eastern Sociological
        Society, Philadelphia (February).

 2016   “Rethinking the Far Right,” Invited presentation, University of Vienna, Austria


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        (December).

 2016 “The (Un)happy Marriage of Far Right Studies and Social Movment Theory,” Center for
      the Study of Social Movements, University of Notre Dame (McCarthy Lifetime
      Achievement Award lecture) (May).
 2015 “Ten Fallacies about Far Right Extremism” Eilert Sundt Lecture at the University of Oslo,
      Norway (October).

 2015 “Challenges and Opportunities in the Study of Racial Extremism.” Department of
      Sociology, University of Oslo.

 2015   “How Does Gender Matter in Gender Matter in Right Wing Extremism: A New Look at
        Affiliation and Disaffiliation.” Invited Plenary Address for international Seminar on the
        Extreme Right in Europe, Manchester, England (May).

 2015   Seminar on Democracy in the Making. Department of Sociology, University of
        California-Santa Barbara (May).

 2015   “Right-Wing Terrorism in the United States” Invited presentation for international
        conferences on “Unbounded Right-Wing Extremism?” Conference sponsored by the
        German Federal Agency for Civic Education, Munich, Germany (March).

 2014   “Gender and the Far Right,” Invited Plenary Address, Conference on British Far Right,
        Middlesex, England (September).

 2014   “Right-Wing Perpetrators” Invited lecture, Liu Institute, University of British Columbia,
        Vancouver (May).

 2014   “What Happens to Political Imagination in Activist Groups?” Invited lecture, University
        of Oregon (May).

 2014   “Funding Qualitative Research.” Invited workshop, University of Oregon (May).

 2014   “Studying Racist Activists: What Can Be Learned and What Cannot,” Invited talk, Civil
        Society Speakers Series, University of Florida (March)

 2014 “What We Know About Racial Hate Groups.” Invited Keynote Speaker, Conference of
      the Social Sciences, University of Florida (March).

 2013   “What Happens to Political Imagination in Activist Groups?” Invited campus lecture,
        University of Cincinnati (January).



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 2013   “Selling Hatred: The 1920s Ku Klux Klan.” Podcast recorded for United States Holocaust
        Memorial Museum’s audio series ‘Voices on Antisemitism.” Available on-line and at the
        museum (January).

 2013 “Getting Qualitative Research Funded” Invited workshop, University of Cincinnati
      (January).
 2012 “The women inside organized hatred.” Butler Jones campus-wide invited lecture,
      Cleveland State University (October).

 2012   “Are There Biographical Effects from Far-Right Activism?” Invited Lecture, Uppsala
        University, Sweden (September).

 2012   “Women and the Far Right.” Invited Keynote Address, International Conference on
        Gender and Far Right Politics in Europe, Georg-Simon-Ohm-University of Applied
        Sciences Nürnberg, Germany (September).

 2012   “Democracy and Grassroots Activism” Invited lecture, Texas A&M University, Department
        of Sociology (April).

 2012   “Funding Qualitative Research on Race”. Invited lecture, Race & Ethnic Studies Institute,
        Texas A&M University (April).

 2012 “Causality in Sequences of Action and Interpretation: An Ethnographic Study of Emerging
      Activist Groups” Invited lecture, American Journal of Sociology/University of Chicago
      conference on Ethnography and Causality (March).

 2012   “Teaching about Organized Racism” (with Kelsy Burke), CIDDE Faculty Development
        Lecture, University of Pittsburgh (February).

 2011   “Reasoning in Cases, Reasoning from Cases” Conference on Reasoning with Cases in the
        Social Science, Center for Philosophy of Science, University of Pittsburgh (November 11-
        12).
 2011   “Bolstering Feminist Politics in a Time of Conservative Ascendancy,” Invited speaker,
        The Foundation for European Progressive Studies (FEPS) in cooperation with the
        Foundation Jean-Jaurès and the Woodrow Wilson International Center for Scholars,
        Washington, DC (October).

 2011   “What Lies Beyond the Visible? Methodological Challenges in Studying the Far Right.”
        Invited keynote speaker, International Conference on Methods for Researching the Far
        Right, University of Applied Sciences, Duesseldorf , Germany (March).



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 2011   “Path Dependency in Activist Groups” Invited lecture, University of Southern California
        (March).

 2010   “Career Trajectories for Faculty.” Invited lecture, The Ohio State University (July).

 2010 “Which Comes First: Thinking Like a Racist or Acting Like a Racist?” Invited Lecture,
      Brandeis University.
 2010 “Does Gender Matter in Organized Racism?” Invited lecture, University of California-
      Berkeley (March).

 2009   “Women of the Klan.” Keynote university address, High Point University (September).

 2009   “Radicalization of Ideas versus Radicalization of Action.” Invited lecture, University of
        California, San Diego (May).

 2009   “New Directions in the Study of Gender, Race, and Violence.” Invited campus-wide
        lecture, Texas A&M University (February).

 2008   "Hate: Its Construction, Deconstruction, and Undoing." Invited Lecture. Center for
        Holocaust/Genocide Study, Drew University (October).

 2008   “'Critical Issues in Researching Hidden Communities'” Invited Lecture, The University of
        Glasgow (Scotland) (October)

 2008   “Racist Radicalization in the U.S." Invited Lecture, VU (Free) University, Amsterdam,
        The Netherlands (July).

 2008   “Strategies for Success for Minority Faculty.” Invited presentation to National Science
        Foundation-funded workshop. Ohio State University (July).

 2008   “Women and Right Wing Political Movements”. Invited workshop leader. Berkshire
        Conference on Women’s History. Minneapolis (June)

 2008   “The Women Inside Organized Racism.” Invited Lecture. Westminister College (April)

 2008   “From Organized Racism to Grassroots Activism in Pittsburgh: Some Lessons on the
        Emergence of Social Protest.” Presentation to Perlman Roundtable, Pittsburgh (March).

 2007   “The Stigma of Racist Activism”. Invited lecture. Centre de Recherches Politiques de
        Science, Science-Po, Paris, France (October).

 2007 “The Making of a Social Movement.” University of Connecticut (April)


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 2007   “Rethinking Intersectionality and Fundamentalisms.” Invited Mini-Residency, Smith
        College (January)

 2006   “Right Wing Terrorism.” Invited presentation at John Jay College, New York
        (November)

 2006 “Ordinary/Extraordinary Racism.” Workshop at YWCA-Pittsburgh (October).
 2006 “The Making of a Social Movement.” Invited departmental speaker, University of
      California-Santa Barbara (March).

 2006   “Racism as a Social Movement.” Invited speaker, Center for Interpretive and Qualitative
        Research, Duquesne University (February).

 2005   “Paths and Possibilities” Invited colloquium speaker, Harvard University (October)

 2005   “Sociological Perspectives in Public Discourse” Invited Clark Lecturer, University of
        Kansas (September)

 2005 “The Making of a Social Movement” Invited colloquium, University of Kansas (Sept)

 2005   “MicroHistory and MicroSociology” Invited presentation at School for American
        Research, Sante Fe (July).

 2005   “Standards in Sociology” Invited presentation at National Science Foundation Workshop
        on Interdisciplinary Standards for Systematic Qualitative Research” Washington DC
        (May).

 2005   “The Microdynamics of Hate Groups and Hate Crimes,” Invited Presentation to 2nd
        International Conference on Hate Crimes: Preventing Hate Violence,” Northeastern
        University, Boston, April 1-2.

 2005   “Women Inside Racism” Invited Presentation, Morehead University, April.

 2004   “Nativist Responses to Immigration” Invited address to Radcliffe Institute/Harvard
        University symposium, May 15.

 2004   “The Sociology of Hate” Gorganza Institute on Hate symposium, Spokane, Washington,
        March 19.

 2003   “Racial Violence,” Invited Lecture to Duke University and the University of North
        Carolina-Chapel Hill, November 21.


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 2003   “Women in Organized Racism: Who Are They and What Difference Do They Make?,”
        Invited Presentation, Civil Rights Heritage Center, Indiana University, South Bend,
        November 13.

 2003   “Ordinary and Extraordinary Racism,” Lecture joint with Lu-In Wang to Center for Race
        and Social Problems, University of Pittsburgh, December 3.

 2003   “Evaluating Qualitative Research” Invited Presentation, National Science Foundation
        Workshop on the Foundations of Qualitative Research, Washington, DC, October, 2003

 2003   “What Social Movement Studies Teach About, and Can Learn From, the Study of
        Organized Racism” Invited Lecture, University of California-Irvine.

 2002   “Teaching Children about Anti-Semitism” and “Anti-Semitism Today,” Presentations to
        Pittsburgh Hebrew School teachers, October.

 2002   “Women and Hate” Plenary Speakers, Holocaust Center, Pittsburgh, October.

 2002   “The Community versus Racism” Invited Lecture, Audrey Cohen College, New York City
        (October).

 2002   “Studying Organized Racism: Lessons for Feminist Scholarship” Plenary Address to
        Provost Advisory Committee on Women’s Concerns Annual Reception for Faculty
        Women, University of Pittsburgh (November).

 2002 “Hate Crimes” Presentation to YMCA Conference, Columbus, Ohio (October).

 2001   “The Ordinariness of Evil.” Presentation to open the special exhibit of photography on
        lynching in American history, Andy Warhol Museum, Pittsburgh, September 22.

 2001   “Engendering Hate: How Women Become Racist Activists and How They Are Changing
        the Racist Movement" Invited Lecture, University of California-San Diego, Departments
        of Sociology and Women’s Studies, May 2.

 2001   “Constructing a Racist Self: Insights from Life Histories of Women in the U.S. Hate
        Movement” Invited Lecture, University of Michigan Department of Sociology, March 16.

 2001   “Inside Organized Racism” Invited Lecture, Cornell University, Dept of Rural Sociology,
        February 9.

 2001   “Engendering Organized Racism” Invited Lecture, Smith College, Department of


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        Sociology, February.

 2000   Invited plenary speaker, Women’s Section, Social Science History Association annual
        meeting (October)

 1999   Invited plenary speaker, workshop on hate groups for church leaders. Chicago.
        Sponsored by the American Jewish Committee (November).

 1999   Invited plenary speaker, workshop on hate groups for leaders of minority communities in
        the Midwest. Chicago. Sponsored by the American Jewish Committee (July).

 1999   “Racist Women at the Millennium.” Invited Lecture, Conference on Engendering the
        Millennium, Boston University (April).

 1999   “The Cultural Practices of Organized Racism.” Invited Lecture, University of
        Washington-Seattle (February).

 1998   “Engendering Race/Race-ing Gender: Trends in Scholarship and Teaching.” Featured
        presentation, Chancellor’s Faculty Diversity Seminar, University of Pittsburgh (May).

 1998   “America’s Racist Underground.” Invited Lecture, Lock Haven State University (March).

 1998   “Engendering the Analysis of Modern Organized Racism” Invited Lecture, North Carolina
        State University (February).

 1997   “Engendering Racism: Women in Contemporary Racist Groups” Invited Lecture,
        Graduate Center, City University of New York (September).

 1997   “The Ku Klux Klan.” Invited Address, West Virginia University (November).

 1997   “Organized Anti-Semitism in America.” Invited talk, Hillel and American Jewish
        Committee, Pittsburgh (April).

 1997   “The Landscape of Modern Hate.” Invited talk, American Association of University
        Women, Pittsburgh (March).

 1996 "Women and Conservatism" Invited Lecture, Princeton University Symposium on
      American Conservatism (May).

 1995   "Life Histories and Racism" Invited talk, Department of Sociology, Vanderbilt University
        (December).



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 1995   "America's Racist Underground" Witham Endowed University Lecture, Middle
        Tennessee State University (November).

 1995   "Apocalyptic Thinking in the Racist Right" Invited talk, Robert Penn Warren Humanities
        Center, Vanderbilt University (October).

 1995   "Engendering Conspiracy" Invited Lecture, Northwest Coalition Against Malicious
        Harassment Symposium on Conspiracy Theory (October).

 1995   "Using Oral History to Study the Right," Invited Lecture, Northwestern University,
        Department of Sociology (April).

 1994   "Oral History and the Far Right," Invited Lecture, Center for European Studies,
        University of Minneapolis (January).

 1993   "Gender and the Politics of Organized Hate," Bevier Endowed University Lecture, Loyola
        University, New Orleans (September).

 1993   "Women of the Ku Klux Klan," Invited Address, University of Oklahoma, Norman
        (April).

 1993   "Sex, Gender and the Politics of Organized Hate," Invited Address, Boston Area Feminist
        Theory Symposium, Boston (March).

 1993 "Racism and Feminism," Invited Address, Virginia Polytechnic Institute, Virginia
      (March).

 1993   "Racism and Gender in the 1920s," Invited Address, University of Louisville, Women's
        Studies Program (March).

 1993 "Racism and the Politics of Gender," Invited Address, Ohio University, Athens, Ohio
      (February).

 1992 "Race, Class and Gender: The Hidden Debates of Election '92," Invited Address,
      presented to El Centro de Investigaciones sobre Unidos de America (Center for Research
      on the United States) of the Universidad Nacional Autonoma de Mexico (National
      University of Mexico), Mexico City (October).

 1992   Participant in National Videoconference "Communities, Diversity and Oral History"
        presented by the Oral History Association (October).

 1992   Keynote address, "Women: Visions, Voices, Vexations" Conference, Western Kentucky


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        University (September).

 1992   "Racism and Gender in the 1920s" Keynote address, Women's History Coalition of
        Kentucky annual meeting, Midway, Kentucky (March).

 1992   "The Politics of Hate" Invited presentation, DeKalb College, Atlanta (February).

 1992   "Racism and Gender" Invited presentation, Transylvania University, Lexington (March).

 1992   "Women of the Klan" Invited presentation, American Association of University Women
        author's banquet, Louisville (March).

 1991   "Racism and Gender in the 1920s" Invited presentation, University of New Orleans
        (November).

 1991   "Racism and Gender in the 1920s" Invited presentation, University of Minnesota
        (October).

 1991   "Gender and Politics of Racism" Keynote speaker, Women's Anti-Militarism Conference,
        Minneapolis (October).

 1991   "Women of the Klan" Presentation for Gaines Center fellows family night, University of
        Kentucky (October).

 1991 "Racism and Gender" Keynote speaker, Kentucky Association of Public Accountants,
      Lexington (October).

 1991   "Women of the Klan" Invited presentation, Midway College, Midway, Kentucky
        (September).

 1990   "Political Movements" Invited presentation, Indiana University, Political Economy
        Workshop.

 1988 "Gender and Political Culture in the 1920s Ku Klux Klan," College of Arts and Sciences
      Forum, University of Kentucky.

 1988   "Women of the Ku Klux Klan," Women's History Conference, Midway, Kentucky.

 1987   "Women of the Ku Klux Klan of the 1920s," M.I. King Peal Gallery Lecture, University
        of Kentucky.

 1987   "Historical View of Women, Work and Family," Keynote Address, Center for Labor


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        Education and Research School for Union Women, Lexington.

 1986   "Women of the Ku Klux Klan," Governor's Commission on the Status of Women, State of
        Kentucky.

 1985   "Women of the Ku Klux Klan," Women's Studies Faculty Research Seminar, University
        of Kentucky.

 1984   "Paradise Lost? Reconstructing Social Relations in Precapitalist Central Appalachia,"
        Cornell University.

 1983   "The Catholic Church and Central American Politics," University Seminar, Transylvania
        University.

 1983   "On the Church and Social Change in Central America," University lecture, University of
        Kentucky, sponsored by Latin American Studies Program.

 1983   "Teaching the Sociology of Gender," presentation to the Anthropologists and Sociologists
        of Kentucky annual meeting, Louisville.

 1983   "The Beech Creek Research," presentation to the Appalachian Studies Conference annual
        meeting, Pipestem, West Virginia (with Louis Swanson).

 1983   "Power and Politics in the Workplace" and "Why Women's History?," University of
        Kentucky panel presentations, sponsored by the Women's Studies Program.

 1982   "Career women: Juggling Work and Home," University of Kentucky panel presentation,
        sponsored by Community Education.

 1979   "Teaching Critical Perspectives in Sociology," presentation to the Wisconsin Sociological
        Association annual meeting, Oshkosh.


 PAPERS PRESENTED AT PROFESSIONAL MEETINGS

 2019                 “Do Far-Right Women Adopt Its Archetypes of Mother, Whore, and
               Fighter,” with Mehr Latif #, Pete Simi, and Matthew DeMichele. Council for
               European Studies (CES), Madrid, Spain, June 20-22.

 2019                 “Far Right Women,” with Mehr Latif #, Pete Simi, and Matthew
               DeMichele. Association Française de Science Politique Conference, Bordeaux,
               France, July 2-4.


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 2019               “How Emotional Dynamics Maintain and Destroy White Supremacist
             Groups,” with Mehr Latif #, Pete Simi, and Matthew DeMichele. International
             Society for Political Psychology, Conference, Lisbon, Portugal, July 12-15.

 2018               How Racial Violence Is Provoked and Channeled" (with Pete Simi,
             Matthew DeMichele, and Mehr Latif #) XIX International Sociological
             Association World Congress (July 15-21), Toronto, Canada.

 2017               “Gender and Disillusionment: Findings from a Study of Violent White
             Supremacists” (with Pete Simi, Matthew DeMichele, and Mehr Latif #), American
             Sociological Association annual meeting, Montreal (August).

 2017               “Gender and Disilluisonment from Violent Radical Racism” (with Pete
             Simi, Matthew DeMichele, and Mehr Latif #), Council for European Studies,
             Glasgow Scotland (July).

 2016               “Rethinking Right-Wing Movements” American Sociological Association,
             Chicago (August).

 2016                “Addicted to Hate: Role Residual among Former White Supremacists”
             American Sociological Association (with Pete Simi and Matthew DeMichele),
             Seattle (August).

 2016               “How Violent Right-Wing Extremists Leave Racist Groups in the U.S,”
             (with Pete Simi and Matthew DeMichele), International Sociological Association,
             Vienna (July)

 2015               “Disaffiliation from Domestic Radicalization to Violent Extremism” with
             Pete Simi, Matthew DeMichele, Kelle Barrick), American Society of Criminology
             (November).

 2015               “Women and Violent Revolution” Panel on Women and War, American
             Sociological Association (August)

 2015                “Domestic Radicalization to Violent Extremism.” (Department of Justice
             invited conference, Washington DC (July).

 2014               “Future-Making in Sociological Theory: A Comment” American
             Sociological Association annual meeting, San Francisco (August).

 2014               “Author Response,” in Author-Meets-Critics session on Democracy in the


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             Making at American Sociological Association annual meeting, San Francisco
             (August).

 2014               “A New Strategy for Feminist Oral Histories of Distasteful Persons,
             Movements, and Events” Berkshire Conference of Women Historians international
             meeting, Toronto (June)

 2013              “Methodological and Ethical Frameworks in the Study of U.S. White
             Supremacists.” American Anthropological Association annual meeting, Chicago
             (November).

 2013               “Promise and Perils of Public Intellectualism.” American Sociological
             Association annual meeting, New York (August).

 2013               “Is the Far Right a Social Movement?” Eastern Sociological Society annual
             meeting, Boston (March).

 2013               “Teaching Organized Racism” Eastern Sociological Society annual
             meeting, Boston (March).

 2012               “New Ethical Issues in Qualitative Research,” American Sociological
             Association annual meeting, Denver (August).

 2012               “Women in the Extreme Right.” American Historical Association annual
             meeting (Chicago).

 2011               “Reflections on Ethnography.” European Consortium for Political
             Research, Reyjavik, Iceland (August).

 2010               “How Social Movement Groups Imagine the Future.” International
             Sociological Association meetings, Gothenburg, Sweden (July).

 2010                “Right-Wing Extremism in the Netherlands and the U.S.” (with Annette
             Linden), International Sociological Association meeting, Gothenburg, Sweden
             (July).

 2009        “New Directions in Gender Research.” Comparative-Historical Section of the
             American Sociological Association Symposium, San Francisco (August).

 2009        “Social Movement Studies in the Age of the Patriot Act” (with Tim Vining).
             International Congress of Qualitative Inquiry, Champaign, IL (May).



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 2008               “Social Movements and Oral Histories.” Organizer and commentator, Oral
             History Association Annual Meeting. Pittsburgh (October).

 2008               “Women and Right Wing Political Movements”. Invited workshop leader.
             Berkshire Conference on Women’s History. Minneapolis (June)

 2007              “Publicity and Visibility in Social Movements” Presentation at Collective
             Behavior and Social Movement Conference, August, New York.

 2007               “State of the Field: Postwar Conservativism,” Organization of American
             Historians Annual Meeting, March, Minneapolis.

 2006               “Social Movement Groups and Elections” Presentation at American
             Sociological Association annual meeting, Montreal (coauthored with Ashley
             Currier) (August).

 2006              “Revisiting the State of Intersectionality” Presidential Plenary Panel at
             American Sociological Association annual meeting, Montreal (August).

 2006              “Emerging Social Movement Groups” Presentation at Interdisciplinary
             Network for Group Research annual conference, Pittsburgh (July).

 2005               “Awkward Movements: How to Study Illegal, Unpopular and Strange
             Social Movement Groups” Presentation at American Sociological Association
             annual meeting, Philadelphia (August).

 2005               “Rigor in Qualitative Research” Presentation at American Sociological
             Association annual meeting, Philadelphia (August).

 2004               Author-Meets-Critics Session on Blee, Inside Organized Racism. Southern
             Sociological Society annual meeting, Atlanta (April).

 2003               “Violence as Narrative and Strategy in the U.S. Far Right” Presidential
             Plenary Session, American Sociological Association annual meeting, Atlanta
             (August).

 2003               “The Space of Racial Hate” Presidential Plenary Session, American
             Sociological Association annual meeting, Atlanta (August).

 2003               Author-Meets-Critic Session on Blee, Inside Organized Racism. American
             Sociological Association annual meetings, Atlanta (August).



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 2003               Author-Meets-Critic Session on Blee, Inside Organized Racism. Eastern
             Sociological Society annual meetings, Philadelphia (February).

 2003              Author-Meets-Critic Session on Francesca Polletta, Freedom is an Endless
             Meeting. Eastern Sociological Society annual meetings, Philadelphia (February).

 2002               “Authority in Contention” Collective Behavior and Social Movement
             Section of the American Sociological Association ASA Pre-Conference, South
             Bend (August).

 2002               “Writing About the Right” Comments at Berkshire Conference of Women
             Historians, Storrs, CT (June)

 2001               “Analyzing Gender in the White Supremacist Movement ” American
             Sociological Association annual meeting, Anaheim, California, August

 2001              Appalachian Studies Conference, “Beech Creek Revisited: An Author
             Meets Critics Session on Kathleen Blee & Dwight Billings, The Road to Poverty

 2000               “Social Origins of Appalachian Poverty” Response to a Symposium on
             Kathleen Blee & Dwight Billings, The Road to Poverty, Rethinking Marxism
             2000, Amherst (October).

 2000                “Entangled Emotions: Studying the Underbelly of Women’s History”
             Invited Plenary Address to the Women’s Caucus, Social Science History
             Association annual meeting, Pittsburgh (October).

 2000                “Social Origins of Appalachian Poverty: Markets, Cultural Strategies, and
             the State in an Appalachian Kentucky Community, 1804-1940" Social Science
             History Association annual meeting, Pittsburgh (October).

 1999               “Gender and InterEthnic Violence” Invited Plenary Address, Berkshire
             Conference on the History of Women, Rochester (June).

 1998              “The Ties That Bind: The Hidden Culture of Organized Racism” Annual
             Meeting of American Sociological Association, San Francisco (August).

 1998               “Interdisciplinary Conversations,” Presentation to Teaching Workshop:
             Teaching Feminist Theory. Annual Meeting of American Sociological
             Association, San Francisco (August).

 1998               “The Negotiation of Emotions in the Interview Process” Annual Meeting of


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             the Eastern Sociological Society, Philadelphia (March).
 1997               “Reading Racism: Women and Hate” Annual meeting of the American
             Sociological Association, Toronto (August).

 1997               “White on White: Interview Narratives from Racial Activists,” Annual
             meeting of the Southern Sociological Society, New Orleans (April).

 1996               "Gender and Hate Politics," Annual meeting of the American Sociological
             Association, New York City (August).

 1995              "Recruitment of Women into Organized Hate Groups," Annual Meeting of
             the American Sociological Association, Washington, D.C. (August).

 1994                "Gender and Political Participation in Social Movements," Annual Meeting
             of the American Sociological Association, Los Angeles (August).

 1993              "Racial Differences in Men's Gender Role Attitudes," Annual Meeting of
             the American Sociological Association, Miami (August), (coauthored with Ann
             Tickamyer).

 1993                Commentator at session "The Problem of American Conservatism,"
             Annual Meeting of the Organization of American Historians, Anaheim, California
             (April).

 1993               Commentator at Berkshire Conference on the History of Women session on
             gender and Protestant fundamentalism (June).

 1993              "Right Wing Motherhood" Invited presentation at Conference on
             Motherhood, Dartmouth College (May).

 1992              "Evidence, Empathy and Ethics: Dilemmas of an Oral History of the Klan"
             Keynote address, Oral History Association annual meeting, Cleveland (October)

 1991               "Racism, Hypernationalism, Anti-Semitism and Xenophobia: The Case of
             the Contemporary U.S.," presented at the American Sociological Association
             annual meeting, Cincinnati.

 1991              "Wealth and Inequality in Preindustrial Appalachia: Beech Creek,
             Kentucky, 1850-1910," presented at the Appalachian Studies Conference, Berea,
             Kentucky (coauthored with Dwight Billings).

 1990               "Causes and Consequences of Appalachian Poverty," Aspen Institute


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             Conference on Rural Poverty in America (coauthored with Dwight Billings).

 1989               "Land and Wealth in a Rural Appalachian Community," presented at the
             Social Science History Association annual meeting, Washington, D.C. (coauthored
             with Dwight Billings).

 1989               "Reactions to Altina Waller, Feuding," presented at the Appalachian
             Studies Conference, Morgantown, West Virginia.

 1989                "Family Strategies in a Subsistence Economy," presented at the American
             Sociological Association annual meeting, San Francisco (coauthored with Dwight
             Billings).

 1988              "Landownership and Household Composition in a Subsistence Appalachian
             Community," presented at the Appalachian Studies annual conference,
             Appalachian State University, (coauthored with Dwight Billings).

 1988               "Agriculture in Pre-Industrial Appalachia: Subsistence Farming in Beech
             Creek, Kentucky, 1850-1880," presented at the Appalachian Studies annual
             conference, Appalachian State University (coauthored with Paul Weingartner and
             Dwight Billings).

 1987               "Women's Mobilization into Right-Wing Politics: Insights from the 1920's
             Women of the Ku Klux Klan," presented at the Berkshire Conference on the
             History of Women, Wellesley College, Massachusetts.

 1987                "Household Composition and Tenancy in a Subsistence Economy,"
             presented at the Southern Stratification meeting, Atlanta (coauthored with Dwight
             Billings).

 1987                "Households and Farms in the Kentucky Mountains, 1850-1910," presented
             at the annual meeting of the Social Science History Association, New Orleans
             (coauthored with Dwight Billings).

 1986               "Black-White Differences in Mother-Daughter Transmissions of Sex Role
             Attitudes and Work Behavior," presented at the American Sociological
             Association annual meeting, New York (coauthored with Ann Tickamyer).

 1986               "Re-Reading Ethnographies: An Applied Problem in the Sociology of
             Knowledge," presented at the Southern Sociological annual meeting, New Orleans
             (coauthored with Dwight Billings).



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 1985               "Gender and Bureaucracy," presented at the American Sociological
             Association annual meeting, Washington, D.C. (coauthored with Ann Tickamyer).

 1985                "Bringing History Back In: The Historicity of Social Relations," presented
             at the Eastern Sociological Society annual meeting, Philadelphia (coauthored with
             Dwight Billings).

 1985               "Women's Political Mobilization: Insights from the 1920's Women of the
             Ku Klux Klan," presented at the Eastern Sociological Society annual meeting,
             Philadelphia.

 1984               "Pre-Capitalist Modes of Social Cooperation: Appalachia and New
             England Compared," presented at the Eastern Sociological Association annual
             meeting, Boston (coauthored with Dwight Billings and Louis Swanson).

 1983                "Large Scale Longitudinal Studies," presented at the American
             Sociological Association annual meeting, Detroit (coauthored with Dwight
             Billings).

 1983                "Toward a Critical Re-reading of Classic Appalachian Studies," presented
             at the Social Science History Association annual meeting, Washington, D.C.
             (coauthored with Dwight Billings and Louis Swanson).

 1983                "Consumption Relations, Class Struggle and the Family: A Comparative
             View," presented at the American Sociological Association annual meeting,
             Detroit.

 1983               "Re-Reading the Classics: Family and Community," presented at the
             Appalachian Studies Conference annual meeting, Pipestem, West Virginia
             (coauthored with Dwight Billings and Louis Swanson).

 1982               "Family Ties and Inter-Class Political Struggle," presented at the Social
             Science History Association annual meeting, Bloomington, Indiana.

 1982                "Political Ideology, Family Ideology: A Study of Nineteenth-Century
             Industrial Communities," presented at the Midwest Sociological Society annual
             meeting, Des Moines.

 1982             "Critical Issues in the Political Economy of the Family," presented at the
             Midwest Sociological Society annual meeting, Des Moines.

 1981               "The Political Economy of Class," presented at the American Sociological


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              Association annual meeting, Toronto (coauthored with Glenn Yago).


 GRADUATE STUDENT ADVISING

 Advisor to completed Ph.D. students:

       Mahnaz Kousha, 1990, “Best Friends: Power Relations among Black Domestics and
       White Mistresses.” Current position: Chair and Professor, Macalester College

       Diana Gurley, 1990, "The Context of Well Being After Significant Life Stress: Measuring
       Social Support and Obstruction" Current position: Researcher, Cleveland State University

       Julia Ardery, 1995, “The Temptation: Edgar Tolson and the Sociology of Twentieth
       Century Folk Art”. Current position: independent writer

       Launa G. Mallett, 1997, "Groups in Emergency Situations: Behavior and Interaction
       during Escapes from Mine Fires." Current position: Research Sociologist, Pittsburgh
       Research Center, Mining Safety and Health Research, National Institute of Occupational
       Safety and Health

       Chishamiso Rowley, 1999, "Agency or Constraint: A Study of Values, Rule Expectations
       and the Maternity Identity of African-American Adolescent Mothers." Current position:
       Assistant Professor, Wayne State University

       Patricia K. Jennings, 2000, “Genetic Ties and Genetic Others: Race, Class, and Infertility”
       Current position: Assistant Professor, California State University, East Bay.

       Chris Wienke, 2002, "Structure, Ideologies, Participants, and Staff of Fatherhood
       Programs". Current position: Assistant Professor, Southern Illinois University.

       Elizabeth Larsen, 2002, “Parked out or in the Lightening Lane? Maintenance and Erosion
       of Occupational Sex Segregation in the Family-owned Businesses of Harness Racing ”.
       Current position: Associate Professor, California University of Pennsylvania.

       Linda Morrison, 2003, "Talking Back to Psychiatry: Resistant Identities in the
       Consumer/Survivor/Ex-Patient Movement". Current position: Assistant Professor,
       Oakland University

       Francine Bush, 2005, “Barriers to Treatment for Drug- and Alcohol-Dependent Women.”
       Current position: Analyst: Social Security Administration



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       Connie Oxford, 2006, “Gender and Human Rights: Asylum Policies and Experiences”.
       Current position: Associate Professor, SUNY-Plattsburgh.

       Dana Reinke, 2006, “Making Sense of Place: Community Response to ‘Big Box’
       Development”. Current position: Sociologist, Centers for Disease Control.

       Christine Anthou Alex, 2007, “Ethnic Survival: The Endurance of Greek-American
       Institutions in Two 21st Century Suburbs.” Current position: Human Resources,
       Cleveland.

       Ashley Currier, 2007, “The In/Visibility of Sexual Minority Movement Organizations in
       Namibia and South Africa.” Current position: Assistant Professor, University of
       Cincinnati.

       Lisa Huebner, 2007, “Sexual Harassment, Intimacy, and Migrant Nurses”. Current
       position: Associate Professor, West Chester University.

       Melissa Swauger, 2008, “Whatever Her Little Heart Desires: How Class and Race
       Influence Adolescent Girls’ Perceptions of the Future.” Current position: Assistant
       Professor, Indiana University of Pennsylvania.

       Sambbridhi Kharel, 2010. “The Dialectics of Identity and Resistance Among Dalits in
       Nepal" (co-chair)

       Kathleen Bulger Gray, 2012. “Negotiating Race Talk: How Whites Hide Racial Privilege
       and Structural Inequality.” Current position: Dean of students, St. Francis College,
       Brooklyn and Assistant Professor, East Carolina State University.

       Kelsy Burke, 2013. “God, Sex, and the Internet: The Faithful, Virtual, and Sexual Lives
       of Contemporary Evangelical Christians.” Current position: Assistant Professor,
       University of Nevada.

       Amy McDowell, 2014. “Rebellious Religion: Christian Hardcore and Muslim
       'Taqwacore' Punk Rock.” Current position: Assistant Professor, University of
       Mississippi.

       Kim Creasap, 2015. “Sweden Ends Here? Social Movement Scenes and the Right to the
       City.” Current position: Visiting Assistant Professor, Wake Forest University.

       Yven Destin, 2016. “Modifying Haitian Images in the Miami Media from 1979 through
       2010 Advent of Social Media.” Current position: Upper school history teacher, Cincinnati
       Day School.


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       Marie Skoczylas, 2016, “Anarchism and Prefigurative Politics in the Occupy Movement:
       A Study of Occupied Space, Horizontal Structure and Anarchist Theory in Practice.”
       Current position: Visiting Instructor, Gender, Sexuality & Women’s Studies, University of
       Pittsburgh


 Advisor or co-advisor to Current PhD Students:

       Elizabeth Yates
       Mehr Latif #
       Candice Robinson
       Shayna Alexander


 Outside Ph.D Examiner:

     Rutgers University
     Queensland University (Australia)
 TEACHING EXPERIENCE

       Graduate Seminars:
             Microdynamics of Social Movements
             Racialization and Racial Social Movements
             Global Feminisms
             Power, Identity, and Strategies of Resistance
             Feminist Theory
             Gender, Race, and Class Seminar
             Feminist Methodologies and Pedagogies
             Frontiers in Race, Gender and Organizational Studies
             Theories of Gender
             Gender and Political Movements
             Proseminar in Work, Gender and Inequality
             Theories of Gender and Family
             Gender and Work


       Graduate Courses on Methodology:
             Workshopping Research Proposals and Products
             Graduate Writing for Publication
             Qualitative Methods
             Research Design


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               Logics of Social Inquiry
               Methods of Social Investigation
               Advanced Graduate Methodology: Socio-Historical Methodology
               Social History of Class, Work and Gender
               Research Design for the Master's Thesis
               Advanced Graduate Methodology: Longitudinal Analysis of Women's and Men's
                      Labor Force Participation


     Undergraduate Courses:
           Research Methods (honors section; regular section)
           Gender and Social Movements
           Global Feminisms
           Identities in a Postmodern World
           Sexualities and the Body
           The Family
           Women and Men in Society
           Introductory Sociology
           Sex Differences, Sex Roles and Society
           Sociological Perspectives on Women
 DEPARTMENTAL SERVICE

  University of Pittsburgh:
                Sociology Department Chair, 2008-2011
                Recruitment Committee for departmental chair, 1998-99 (chair)
                Recruitment Committee, 1996-97 (chair); 1999-2000; 2000-2001; 2003-04
                Special Review Committee, 1996-97 (chair); 2003-04; 2006-07
                Graduate Committee, 1996-97; 1998-99; 1999-2000; 2000-01; 2002-03; 2004-05
                Undergraduate Committee, 2004-05; 2005-06; 2006-2007

  University of Kentucky:
                Personnel Committee, 1988-89; 1991-92 (chair)
                Policy Committee, 1990-91; 1991-92; 1992-93
                Theory Committee, 1982-83; 1986-88 (chair, 1987-88)
                Graduate Committee, 1985-85; 1987-88
                Methods Committee, 1984-85; 1992-94 (chair, 1993-94); 1995-96
                Undergraduate Committee, 1983-84; 1989-90
                Work, Gender and Inequality Committee, 1984-present; chair, 1993-
                O'Donnell Award Committee, 1983
                Brown Bag Committee, 1981-82; 1984-85




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 UNIVERSITY SERVICE

   University of Pittsburgh:
        Chair, Dietrich School of Arts & Sciences Diversity Committee, 2013-present
        Provost Distinguished Faculty Selection Committee, 2007-2010 (chair 2009-2010); 2015-
                present (chair 2015-2016)
        Provost Ad Hoc Committee on Sexual Assault & Harassment Policies, 2015-present
        Provost Ad Hoc Committee on Patent, Copyright, Conflict of Interest Policies, 2015-
                present
        Provost Process Improvement Task Force Committee, 2014-present
        University Research Council, 2012-present
        Search Committee, Associate Vice Provost & Director, Office of Research, 2015
        Search Committee, Director for Innovation Center, 2015
        Advisory Committee for CTSI Responsible Conduct of Research Training Center
        Provost Mentoring Award Selection Committee, 2010-2011
        Arts & Science Council, 2010-2011
        Chair, Academic Advisory Committee, Center for Race and Social Problems, 2007-2011
        Provost Planning Committee for Annual Chairs’ Retreat, 2008-2009
        Presenter on Innovation during Budget Crisis at Provost Annual Chairs Retreat, 2009
        Presentation on Career Planning for Junior Faculty, sponsored by Vice-Provost office and
                Women’s Studies Program, 2009
        CIDDE Workshop, Presenter on “Mentoring Graduate Student Research,” May 2008
        School of Arts and Sciences Tenure Council, 2005-07
        Elected to A&S Tenure Council Selection Committee, 2005-06; 2006-07
        Tenure Review Committee, Department of Linguistics, 2005-06
        Selection Committee, Chancellor’s Affirmative Action Award, 2004-2005
        Provost's Advisory Council on Instructional Excellence, 2004-2007
        Women’s Studies Program Advisory Committee, 1996-present
        Provost’s Distinguished Research Award Selection Committee, 2004-2007
        Cultural Studies Graduate Fellowship Committee, 2004-05
        Academic Advisory Committee, Center on Race and Social Problems, 2004-2007
        Center on Race and Social Problems Faculty Intergroup Relations Research Group, 2002-
                present
        Semester at Sea Academic Advisory Committee, 2003-2006
        Chair, Provost’s Advisory Committee on Women’s Concerns, 1997-98
                (member, 1996-99)
        Member, Chancellor’s Working Group on Diversity, 1996-99
        Elected Member, FAS Academic Integrity Board, 2000-2002
        Chair, FAS Nominations Committee, 2003
        Senate Nominations Committee, 2003
        Board of Trustees, Affirmative Action Committee, 2003; 2003-04
        Elected Member, Senate Anti-Discriminatory Policies Committee, 1997-2000; 2004-2007


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        Member, Graduate School of Public & International Affairs Tenure/Promotion
                Committee, 1998-99
        Member, History Department Search Committee, 1998
        Co-Director, Faculty Diversity Seminar, 1996-97
        Member, FAS Tenure/Promotion Committee, 1996; 1997; 1998
        Affiliate, Center for Latin American Studies, 1996- present

   University of Kentucky:
        Chair, College Area Advisory Committee for tenure & promotion, 1993-94;1994-95
        Chair, Committee to Review Department of Anthropology, 1995-96
        Chair, Summer Faculty Research Fellowship Committee, 1993-94
        Member, Research Advisory Committee Awards, 1994
        Member, Undergraduate Research Awards Selection Committee, 1994
        Member, Women's Studies Committee, 1982-present (Director, 1987-89)
        Chair, Women's Studies Graduate Curriculum Committee, 1993-94
        Presenter, College of Arts & Sciences Grantwriting Workshop, 1993
        Member, Review Committee, Department of Communications, 1993
        Member, Ad Hoc Committee to Review Sexual Harassment Policy, 1992-93
        Chair, Senate Library Advisory Committee, 1991-93; member, 1993-94
        Member, N.E.H. Summer Fellowship Review Committee, 1992
        Chair, Committee to design a university-wide Social Science Research Institute, 1990-91
        Member, Selection Committee for Associate Dean, Graduate School, 1991
        Member, University Press of Kentucky Review Committee, 1991-92
        Chair, Search Committee for Dean of Undergraduate Studies, 1990
        Board Member, The University Press of Kentucky, 1989-91
        Member, PEW Appalachian College Board, 1989-91
        Member, Biological Research Support Grant Committee, 1987-90
        Member, Sociology Department Chairperson Search Committee, 1989
        Member, Psychology Department Chairperson Search Committee, 1988
        Member, History Department Review Committee, 1987-88
        Member, Arts and Sciences Library Advisory Committee, 1987-88
        Presenter and workshop organizer, AACU Workshop on integrating women's studies into
                the curriculum, 1987
        Chair, UK Nominating Committee, National Endowment for the Humanities
         Summer Stipend Program, 1986
        Member, Center for the Study of Women, organizing committee, 1985-87
        Participant, Kentucky Coalition for Women's History Conference, 1987-88
        Member, Multidisciplinary Conference on Longitudinal Community Studies,
         Organizing committee, 1985-86
        Discussant, Symposium on Effective Teaching in the Social Sciences, 1986
        Panelist, Integrative Studies Seminar, 1986
        Moderator, session on work and family life, UK Conference on the German


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         Democratic Republic, 1985
        Member, Ruby Scholarship Selection Committee, 1985
        Latin American Studies Program affiliate, 1983-84; panelist for
        Instructional Resources videotape on Central America, 1983
        Moderator and Discussion Leader for film "The Emerging Woman," for
                Women's History Week, 1982


 EDITORIAL BOARDS
 Editorial Board, Sociological Forum, 2006- 2009; 2012-2017
 Advisory Board, Program on States and Security: Conflict in Field Research, 2015-present.
 Editorial Board, Bloomsbury Book Series “A Modern History of Politic & Violence,” 2014-
         present
 Executive Board, Journal of Race and Social Problems, 2009-2016
 Editorial Board, Sociological Focus, 1998-2001, 2006-2009
 Editorial Board, Contexts, 2005-08
 Editorial Board, American Sociological Review, 2001-2004.
 Editorial Board, Gender & Society, 1997-2000.
 Deputy Editorial Group and Editorial Board, Social Science History, 1998-2006.
 Editorial Board, Appalachian Journal, 1998-2006
 Associate Editor, Sociological Focus, 1992-94



 EXTERNAL TENURE/PROMOTION REVIEWS

 University of New Orleans (1993), Wellesley College (1995), University of Michigan (1995),
 Northwestern University (1994), University of Minnesota (1993), University of New Orleans
 (1991), University of New Orleans (1996), University of California-Santa Barbara (1996),
 University of Washington (1997), University of California-Davis (1997), University of Memphis
 (1998), University of Idaho (1998), University of Iowa (1998), University of Minnesota (1999),
 Virginia Polytechnic Institute (1999), University of Kentucky (2000), Smith College (2001),
 University of Memphis (2001), University of Michigan (2002), Indiana University (2002),
 Columbia University (2003), University of California-Irvine (2004), Indiana University (2004),
 Duquesne University (2004), University of Connecticut (2004), University of California-Santa
 Barbara (2005), Central European University (2005), Louisiana State University (2005), Ontario
 Technical University (2005), Indian Statistical Institute (2006), University of Vermont (2006),
 University of Louisville (2006), Northeastern University (2006), University of Southern Maine
 (2007), University of California-Irvine (2007); University of California-Santa Barbara (2007);
 University of Michigan (2007), California State University (2008), University of California-Davis
 (2008), University of Pittsburgh-Johnstown (2008); McGill University (2008); University of
 Nebraska (2008), Illinois Institute of Technology (2009), University of Michigan (2009),


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 Princeton University (2010), Texas A&M University (2010), University of California-Santa
 Barbara (2010), University of South Florida (2010); Notre Dame University (2010), Harvard
 University (2011), University of Arizona (2011), University of California-Irvine (2012),
 University of Alabama-Birmingham (2013), Oakland University (2013), Brandeis University
 (2013), SUNY-Stony Brook (2013), Cornell University (2014), University of Massachusetts
 (2014), Florida State University (2014), Purdue University (2014), SUNY-Stony Brook (2015),
 Washington University (2015), University of Glasgow (2015), University of California-Merced
 (2015), Harvard University (2016), University of Illinois-Chicago (2016), University of
 California-Irvine (2016).




 Other External Reviews

 External Program Reviewer
        Wayne State University, Department of Sociology, 2009
        Chair, Review committee, University of Kansas, Department of Sociology, 2008.
        University of Kansas, Department of Sociology, 2009
        University of Cincinnati, Department of Sociology, 2005
        Slippery Rock State University, Women’s Studies Program, 1997.

 National Panelist Reviewer
        ACLS Faculty Fellowships, 2003-04, 2004-2005; 2005-2006
        IGERT Proposals to NSF, 2002
        Ford Foundation Doctoral Fellowships for Minorities, 1988-91
        Woodrow Wilson Rural Policy Fellowships, 1989-91


 Frequent Reviewer
       National Endowment for the Humanities Faculty Fellowships
       National Endowment for the Humanities Summer Fellowships
       National Science Foundation

 Frequent manuscript reviewer for Princeton University Press, Yale University Press, Oxford
       University Press, Cambridge University Press, and other presses.


 NATIONAL POSITIONS IN AMERICAN SOCIOLOGICAL ASSOCIATION
 Chair, Member Publications Committee, 2014-2017 (elected)
 Program Committee for 2016 national meeting
 Committee on Professional Ethics, 2009- 2012 (chair 2010-2011)


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 Council, 2004-2007 (elected)
 Task Force on Academic Freedom, 2007-2008
 Chair, Selection Committee for Best Article on Social Movements, 2002
 Public Understanding of Sociology Award Committee, 1999-2002
 Chair, Member, Selection Committee for the Award for a Distinguished Publication, 1993-95
 Dissertation Award Committee, 1991-93


 OTHER PROFESSIONAL ACTIVITIES

 Advisory Board, Center for Research on Extremism, University of Oslo (Norway), 2015-present
 Senior Fellow, Yale Urban Ethnography Project, 2014-present
 Society for the Study of Social Problems Program Committee, 2013-2014
 Session Chair and Commentator, “Women Against the State: Modernity and Anti-modernity
         Across Time and Place,” Berkshire Conference of Women Historians international
         meeting, Toronto (June)
 Session organizer, all sessions on Ethnic Conflict for American Sociological Association annual
         meeting, San Francisco (August, 2014)
 Session organizer, Right-Wing Assaults on the Welfare State, Society for the Study of Social
         Problems annual meeting, San Francisco (August, 2014)
 Co-organizer (with Ashley Currier), ethics workshop, American Sociological Association annual
         meeting, Denver (August, 2012)
 Participant in panel on "The Role of Codes of Ethics and Professional Ethics Enforcement in the
         North Central Sociological Association,” Pittsburgh, April, 2012.
 Co-organizer (with Ashley Currier), National workshop on ethics of qualitative research,
         University of Pittsburgh, October 28-29, 2010.
 INGRoup national conference program committee, 2007; 2008
 American Sociological Association, Organizer for all sessions on racism & anti-racism for annual
         meeting, 2007.
 Participant, author’s conference, Harvard University, Center for International Studies, May 2007.
 Organizing Committee, IN-Group Annual Conference, 2006-2007.
 Social Science History Association Sharlin Prize Committee for best book in social history, 2007-
         2010.
 Organizer, Sessions on Racism and Anti-Racism, American Sociological Association, 2007.
 American Council on Learned Societies, final review panel member, 2004, 2005, 2006.
 Ohio State University, Presenter at “Crime and Justice Summer Institute: Broadening
         Perspectives and Participation”; mentoring workshop for Faculty from Underrepresented
         Groups, annually 2006-2014
 National Endowment for the Humanities, Summer Faculty Fellowships reviewer, 2003; 2004,
         2005.
 Chair, Faculty Mentoring System, Collective Behavior & Social Movements Section, American
         Sociological Association, 2004-2005


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 Organizer and discussant "Feminists in the Field" Panel session for North Central Sociological
           Association annual meeting, Pittsburg, April 2005.
 Member, Selection Committee for Best Book Award, Social Science History Association, 2001,
           2002, 2003.
 Outside member on graduate dissertation committees at Rutgers University (Lauren Heberle) and
           University of Wisconsin-Madison (Meera Sehgal)
 Member, Selection Committee for Best Book Award, Social Science History Association, 2001.
 Member, Selection Committee for Best Book in Collective Behavior and Social Movements,
           2000.
 Chair, Selection Committee for Best Graduate Student Paper, Collective Behavior and Social
           Movement Section of the American Sociological Association, 1999-2000.
 Member, Selection Committee for Book Award, Oral History Association, 1998-99
 Member, Selection Committee for Best Book on Tolerance, sponsored by Simon Wiesenthal
           Center, New York & Los Angeles, 1999
 Co-organizer, International Conference on Researching Right-Wing Extremism, Toronto (August,
           1997).
 Organizer, Thematic Session “Race, Ethnicity and the State” for 1997 American Sociological
           Association annual meetings, Toronto (August, 1997).
 Co-organizer, Session on Right-Wing Extremism for 1997 American Sociological
                Association annual meetings, Toronto.
 Session Chair, Library of Congress Conference "Calvin Coolidge and the Coolidge Era" (October,
           1995).
 Commentator, Session on international perspectives on women on the right, Berkshire Conference
           on the History of Women Meeting, June 1996.
 Comparative-Historical Section of the American Sociological Association, Article Prize
           Committee, 1993-94; 1995-96 (chair); 1996-97 (chair).
 Comparative-Historical Section of the American Sociological Association, Student Paper Prize
           Committee, 1994-95
 Collective Behavior/Social Movement Section of the American Sociological Association, Elected
           to Section Council, 1995-98
 Comparative-Historical Section of the American Sociological Association, Elected to Section
           Council, 1993-96
 Session Organizer and Commentator, "The Shattered Mosaic," American Sociological
           Association Annual Meeting, 1994
 Nominations Committee, Comparative-Historical Section of the American
           Sociological Association, 1992-93
 Coordinator of University of Kentucky site program, Fund for the
           Improvement of Post-Secondary Education (FIPSE)/Organization
           of American Historians (OAH) program for curriculum integration
           of third world women's history, 1988.
 Newsletter Editor, Newsletter of the Comparative-Historical Section of
           the American Sociological Association, 1987-89.


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 Participant, Program Administrators Session, National Women's
           Studies Association annual meeting, Atlanta, 1987; Minneapolis,
           1988.
 Organizer and Presider, Session on Historical Sociology, Southern
           Sociological Society annual meeting, Knoxville, 1984.
 Moderator, Session on Divorce and Family Violence, GROW Conference
           for Kentucky's Women Researchers, Richmond, 1984.


 COMMUNITY SERVICE

 Interviewed by many television, media, print, and internet media on white supremacism

 Speaker on racism and white supremacism for many religious and community organizations
          across the country

 Board Member, Three Rivers Community Foundation, 2008-2011.

 Consultant, Warhol Museum American History Project Timeline, 2007-11

 Co-author, proposal for Obey-Porter funds for the Comprehensive School Reform Demonstration
          Program for Minadeo Elementary School, Pittsburgh. Funded for $300,000. 1999-
          2002

 Member, Allegheny County Transit Council, 2011-2016

 Governing Board Member, Fayette County Health Department Primary Care Unit, 1990-1994

 Advisory Board Member, Women's Center of Central Kentucky, 1986-87




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